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                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                 NORTHERN DISTRICT OF CALIFORNIA

                                   6

                                   7    FRED BOWERMAN, et al.,                              Case No. 3:13-cv-00057-WHO
                                                       Plaintiffs,
                                   8
                                                                                            ORDER DENYING DEFENDANT'S
                                                v.                                          MOTION TO DECERTIFY THE
                                   9
                                                                                            CLASS; GRANTING PLAINTIFF'S
                                  10    FIELD ASSET SERVICES, INC., et al.,                 MOTION FOR PARTIAL SUMMARY
                                                                                            JUDGMENT; GRANTING
                                                       Defendants.                          DEFENDANT'S MOTION FOR
                                  11
                                                                                            SUMMARY JUDGMENT AS TO
                                  12                                                        MAGDALENO AND DENYING AS TO
Northern District of California




                                                                                            COHICK AND ACKEL
 United States District Court




                                  13
                                                                                            Re: Dkt. Nos. 152, 154, 155
                                  14
                                                                               INTRODUCTION
                                  15
                                              This is a classwide misclassification case involving vendors who perform property
                                  16
                                       preservation services in California for Field Asset Services, Inc. I previously granted plaintiffs’
                                  17
                                       renewed motion for class certification after they “limit[ed] the class to a group of vendors over
                                  18
                                       which FAS has a uniform right of control.” Certification Order at 2 (Dkt. No. 85). FAS now
                                  19
                                       moves to decertify the class, and for summary judgment as to one of the named plaintiffs and two
                                  20
                                       absent class members. Plaintiffs move for partial summary judgment as to their status as
                                  21
                                       employees under the law, and their resulting entitlement to expenses and overtime pay.
                                  22
                                              While FAS again highlights manageability concerns that complicate class treatment, as it
                                  23
                                       has throughout this litigation, those concerns are not substantial enough to justify decertifying the
                                  24
                                       class. The class meets the requirements of Rule 23 and discovery has not revealed otherwise. The
                                  25
                                       overwhelming weight of the evidence supports a finding that FAS retained and, more often than
                                  26
                                       not, actually exercised a right to control the manner and means of the vendors’ work. While some
                                  27
                                       of the secondary factors for evaluating proper classification fall in FAS’s favor, they cannot
                                  28
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                                   1   overcome the powerful evidence of control that establishes that the vendors are employees as a

                                   2   matter of law. A reasonable jury could not return a verdict for FAS on that issue. Accordingly,

                                   3   plaintiffs’ motion for partial summary judgment is GRANTED as to FAS’s affirmative defense

                                   4   that the vendors are independent contractors and as to its liability for failing to pay overtime and

                                   5   business expenses. FAS’s motion for summary judgment is GRANTED as to purported class

                                   6   member Julia Magdaleno, but DENIED as to Matthew Cohick and Eric Ackel.

                                   7                                            BACKGROUND

                                   8   I.       FACTUAL BACKGROUND1
                                   9            A.     FAS’s Business Model
                                  10            FAS is a property preservation, maintenance, and repair services company for foreclosed

                                  11   and real-estate-owned properties.2 Hunter Decl. ¶¶ 2, 8 (Cubre Decl. ¶ 46, Ex. 45, Dkt. No. 189-6,

                                  12   50-2). It maintains a network of “vendors”3 to perform work at the properties for the clients.
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                                  13   Hunter Decl. ¶ 5; Hunter Dep. at 354:5–10 (FAS’s “Person Most Knowledgeable”)(Duckworth

                                  14   Decl. Ex. 2, Dkt. No. 155-3). Vendors may range in size from sole proprietors to large

                                  15   corporations. Cubre Decl. ¶ 4 (Dkt. No. 156).

                                  16            FAS owns the contracts with its property-owner clients and serves as the intermediary

                                  17   between clients and vendors—forbidding clients from contacting Vendors and hiring them

                                  18   directly. Hunter Decl. ¶ 6; Hunter Dep. at 66:3–5 (“Generally the point of contact for the vendor

                                  19   would be FAS, as FAS is facilitating the vendor relationship on behalf of the client.”); Pl.’s Mot.

                                  20

                                  21   1
                                         The disputed nature of many of the facts are identified when material. Plaintiffs note that certain
                                  22   portions of FAS’s cited deposition testimony were not included in FAS’s exhibits, FAS corrected
                                       this omission with a Notice of Errata, filed on February 12, 2017. Dkt. No. 198.
                                  23   2
                                        FAS argues that it does not provide property preservation services, but it identifies itself as “the
                                  24   premier Property Preservation, REO Maintenance, and Repair Services company in the United
                                       States, servicing more than $2 billion in residential assets on behalf of our clients.” FAS
                                  25   Marketing material (Duckworth Decl. ¶ 4, Ex. 1, Dkt. No. 155-2 at 5). The argument appears to
                                       be based on semantics. It is addressed in the discussion of the secondary factors. It does not
                                  26   create a genuine dispute.
                                       3
                                  27     According to plaintiffs, “the parties always have read and treated the class member definition
                                       [“vendors”] as being the owner of the business entity.” Opp’n to Def.’s Mot. to Decertify at 2
                                  28   (Dkt. No. 191).

                                                                                         2
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                                   1   for Partial Summary J. at 3 (“MPSJ”)(Dkt. No. 155). A “company”4 applies to become a vendor

                                   2   by submitting a complete Vendor Qualification Packet (“VQP”), which sets out the terms of the

                                   3   relationship between the parties.5 Hunter Decl. ¶¶ 8–10; 2009 VQP with attachments (Duckworth

                                   4   Decl. ¶ 20, Ex. 17, Dkt. No. 155-18); 2009–2013 VQPs (Duckworth Decl.¶ 38, Exs. 34–38, Dkt.

                                   5   Nos. 155-35–155-39); 2013 VQP (Duckworth Decl. ¶ 9, Ex. 6, Dkt. No. 155-7).6 In addition to

                                   6   the main agreement, the VQP includes a Release Authorization; a Vendor Checklist, on which

                                   7   vendors indicate which type of services they offer7; Insurance Requirements sheet; Errors and

                                   8
                                       4
                                   9    While FAS insists that it does not require vendors to obtain business licenses, the Vendor
                                       Qualification Packets reference the applicant’s “company.” See Vendor Qualification Packets
                                  10   2009–2013 (Dkt. Nos. 34–38). An opening letter attached to one of the 2013 VQPs states, “All
                                       documents and Certificate of Insurance must EXACTLY match the company or sole proprietor
                                  11   name listed on your W-9.” 2013 VQP (Duckworth Decl. ¶ 9, Ex. 6, Dkt. No. 155-7 at 2)
                                       5
                                  12     Plaintiffs urge that “[t]here is no meaningful opportunity for applicants to modify any of the
                                       terms of the Packet, and indeed, no Vendor has done so.” Pls.’ MPSJ at 4 (citing DD ¶ 5, Ex. 2
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                                  13   [PMK Depo. at 25:6-11; 27:19-28:1; 30:23-31:20; 35:5-38:19; 40:17-21; 42:6-43:10; 78:18-79:2;
                                       150:13-151:12; 152:22-153:23]; ¶ 38, Ex. 34-38; ¶ 70, Ex. 71 [Davis Decl. ¶ 5]; ¶ 68, Ex. 69
                                  14   [Dunham Decl. ¶ 4]; ¶ 71, Ex. 72 [Hart Decl. ¶ 4]; ¶ 67, Ex. 68 [Lopez Decl. ¶ 7]; ¶ 66, Ex. 67
                                       [Karger Decl. ¶ 6]; ¶ 69, Ex. 70 [Jaques Decl. ¶ 5]; ¶ 80, Ex. 81 [Hart Depo. 57:1-6]; ¶ 82, Ex. 83
                                  15   [Karger Depo 52:12-19]; ¶ 81, Ex. 82 [Davis Depo. 115:18-22]; ¶ 79, Ex. 80 [Denny Depo. 60:18-
                                       61:6]. FAS insists that the terms, including the rates for services, are negotiable. See, e.g., Hunter
                                  16   Decl. ¶ 10 (“While FAS offers templates, every term of each contract is negotiable and many
                                       terms have changed over time in various contracts.”); id. ¶ 11 (“Significantly, a large number of
                                  17   the contractual terms are negotiated (and often renegotiated) between FAS and every vendor.”);
                                       Hunter Dep. at 48:16–23 (noting on the price schedule where a vendor “crossed out some of the
                                  18   pricing and proposed their own pricing.”). Plaintiffs counter with vendor testimony that they
                                       either “did not know” or thought that they could not negotiate, or that “negotiation” consisted of
                                  19   vendors asking and FAS rejecting. E.g., Cino Dep. at 67:5 (Dkt. No. 198-4); Cohick Decl. ¶ 4
                                       (“The pricing was set by FAS and was not negotiable unless additional work needed to be
                                  20   done.”)(Dkt. No. 155-60). Although vendors were permitted to “bid” on additional work that they
                                       discovered needed to be performed on a property, plaintiffs contend that “bidding” is a misnomer
                                  21   because the price had to match up with FAS’s bid sheet, or it would not get approved. E.g.,
                                       Cohick Dep. at 93:19–94:10 (Dkt. No. 188-4).
                                  22   6
                                         Plaintiffs contend “[t]here are no material differences in any of the versions of the Packets, and
                                  23   FAS points to none.” Opp’n to Class Decertification at 6. But FAS maintains that the vendor
                                       packets have varied significantly over time in material ways, such as with respect to contract
                                  24   termination (i.e., some packets did not contain a termination provision, others provided that the
                                       contract could be terminated at any time, and others contained a notice provision), independent
                                  25   contractor acknowledgments (i.e., some packets include an express acknowledgement of
                                       independent contractor status, while others do not), indemnification provisions, background check
                                  26   provisions, tax information, security provisions, non-exclusivity provisions, and the inclusion of
                                       job specifications within the packets.” Opp’n to MPSJ at 4 n.4 (citing Hunter Supp. Decl. ¶¶ 6, 8-
                                  27   9, cf. Exs. 2-3, 6-7; Duckworth Decl. Exs. 37-38.)
                                       7
                                  28    The checklist also has a blank for vendors to input their contractor’s license number. Dkt. No.
                                       155-18 at 15. FAS’s PMK represents that the VQPs do not require vendors to obtain a general
                                                                                        3
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                                   1   Omissions Insurance Acknowledgement; Vendor Packet Checklist; Vendor Checklist for Photos

                                   2   Needed; Lock Change/Securing Service Requirements and Cost Schedule; Plywood Boarding

                                   3   Panel Detail; Request for Taxpayer Identification Number; a Letter detailing the importance of

                                   4   quality control8; Approved Vendor Quality Policy; and Personal Property Policy and

                                   5   Acknowledgment. 2009 VQP (Dkt. No. 155-18); 2013 VQP (Dkt. No. 155-7).

                                   6           The Vendor Qualification Packets contain instructions for the standard services performed

                                   7   by vendors,9 including re-keys, board-ups, debris removal, hazardous material removal, yard

                                   8   services, janitorial/maid services, roof tarps, pool service, snow removal, mold/water damage, and

                                   9   winterization/de-winterization. Duckworth Decl.¶ ¶ 9, 38, Exs. 6, 34–38. The VQPs also dictate

                                  10   insurance requirements, photo documentation specifications, pricing and invoicing procedures,

                                  11   timelines for completing services, and penalties for failing to comply with FAS’s terms. Id. By

                                  12   signing, vendors attest that they will carry General Liability and Errors and Omissions (E & O)
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                                  13   Insurance, and will list FAS as an additional insured. E.g., 2013 VQP (Dkt. No. 155-7 at 5); 2009

                                  14   VQPs (Dkt. Nos. 155-35 at 5; 155-36 at 5; 155-37 at 5); see also Insurance Requirements attached

                                  15   to 2009 VQP (setting specific coverage requirements)(Dkt. No. 155-18 at 16–17). The 2011

                                  16   version expands these requirements, “FAS requires and you agree that you will carry general

                                  17   liability, errors & omissions, workers compensation, and auto insurance.” 2011 VQP (Dkt. No.

                                  18   155-38 at 6); see also 2013 VQP (Dkt. No. 155-7 at 5). It offers a Master E & O policy to all

                                  19   approved vendors. Hunter Dep. at 43:22–44:5. FAS instructs that “[v]endors are the eyes and

                                  20   ears at a property; therefore it is necessary that vendors report any damages, hazardous, or unsafe

                                  21

                                  22
                                       contractor’s license, but if a vendor offers to provide a service that requires one, then it attests that
                                  23   it has one. Hunter Dep. at 30:10–14. The Insurance Requirements attached to the 2009 VQP has
                                       a subsection entitled “Contractor’s License (Only if required in your state).” Dkt. No. 155-18 at
                                  24   17; Dkt. No. 155-7 at 6. It states, “Each vendor and contractor must be a licensed contractor to
                                       perform work on FAS assignment. … We must have a copy on file before FAS can issue work.”
                                  25   Id.
                                       8
                                  26    The letter notes that FAS requires high quality work, and “[t]o do so, we [FAS] have developed a
                                       systematic method for identifying and correcting service deficiencies.” Dkt. No. 155-18 at 27.
                                  27   9
                                        The VQPs state, “A work order will be issued each time a service is needed. Please read each
                                  28   work order carefully. You must complete the requested services as outlined on the work order.”
                                       2009 VQP Dkt. Nos. 155-35 at 6; 155-37 at 6
                                                                                      4
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                                   1   conditions at a property… . Failure to do so will result in the vendor’s liability to correct the issues

                                   2   at no cost to FAS.” 2013 VQP (Dkt. No. 155-39 at 5). Through the VQPs, FAS also retains the

                                   3   “Right to Set-Off” and vendors must agree to indemnify FAS. 2009–2013 VQPs (Dkt. Nos. 155-

                                   4   35 at 10; 155-36 at 10; 155-37 at 10; 155-39 at 5–6).

                                   5            Later versions of the VQP explicitly designate vendors as “independent contractors,” and

                                   6   include additional provisions. E.g., 2011 VQP (Dkt. No. 155-38 at 7). A Lien Provision

                                   7   precludes vendors from filing liens on “FAS maintained propert[ies].” Id. (Dkt. No. 155-38 at 6).

                                   8   A Termination Provision states, “[t]he relationship between you or your company and FAS may

                                   9   be terminated by either you or FAS at any time and for any reason, with or without notice.” Id.

                                  10   (Dkt. No. 155-38 at 8). The Master Services Agreement, which FAS began using in 2014,

                                  11   provides an agreement term of one year, which automatically renews for one year periods, “unless

                                  12   either party provides thirty (30) days prior written notice of its intent to terminate the Agreement.”
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                                  13   2014 Master Services Agreement § 11.1 (Duckworth Decl. ¶ 38.f, Ex. 39, Dkt. No. 155-40 at 8).

                                  14   It also includes a mutual right to terminate the agreement, with a notice provision. Id. § 11.2.

                                  15            After FAS receives a complete VQP and the terms are finalized, it performs a background

                                  16   check10 and insurance verification. Hunter Dep. at 84:10–13. Plaintiffs cite to vendor testimony

                                  17   to support their claim that FAS requires them to obtain a business license and an Employer

                                  18   Identification Number or EIN. E.g., Bowerman Dep. at 13:7–11; 40:24–41:5 (Duckworth Decl.

                                  19   Ex. 3, Dkt. No. 155-4); Lopez Decl. ¶ 4 (Duckworth Decl. Ex. 68, Dkt. No. 155-69); Hart Dep. at

                                  20   65:21–22 (Dkt. No. 196-31). FAS disputes that it required any vendors to obtain an EIN prior to

                                  21   contracting with it, and points to the fact that the VQPs do not request it. Id. at 13 n. 32; see

                                  22   Hunter Dep. at 30:10–14. But see 2013 VQP (“Please ensure the name on Line 1 (Taxpayer) and

                                  23   the corresponding EIN matches exactly your information on file with the IRS.”)(Dkt. No. 155-7 at

                                  24

                                  25   10
                                         FAS requires Vendors to administer background screening for any employee, contractor or
                                  26   consultant that includes verification of social security numbers, criminal background checks, work
                                       authorization verification, confirmed work references, and verification of any certifications, and
                                  27   FAS also requires Vendors to authorize FAS or a third-party to conduct background checks as
                                       determined by FAS in its sole discretion. 2011 VQP (Duckworth Decl. Ex. 37, Dkt. No. 155-38 at
                                  28   6–7); 2013 VQP (Dkt. No. 155-7 at 11–12).

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                                   1   6). Once a vendor is approved, FAS issues a username and password for vendors to interface with

                                   2   its proprietary software, FAStrack. Hunter Dep. at 84: 17–19; see also 2013 VQP (Dkt. No. 155-7

                                   3   at 3). It requires Vendors to be trained on the software (FAStrack, My FAStrack, and FAStrack

                                   4   Mobile) before they can accept work orders and begin working. Hunter Dep. at 87:2–15; see also

                                   5   2013 VQP (“Completion of training is required prior to receiving work orders.”)(emphasis in

                                   6   original)(Dkt. No. 155-7 at 3); FAStrack Mobile Training Guide (Duckworth Decl. ¶ 6, Ex. 13,

                                   7   Dkt. No. 155-14); 1/17/12 Prentiss Email and Authenticating Dep. (“Our vendors are NOT

                                   8   utilizing the mandatory FAStrack Mobile program.”)(emphasis in original)(Miller Decl. ¶ 5, Ex.

                                   9   2, Dkt. No. 196-3) . FAS creates a “Vendor Profile,” which includes vendor contact information,

                                  10   zip codes for service areas, list of services, agreed upon price sheet, and a signed VQP. Hunter

                                  11   Dep. at 99:6–22; 2013 VQP (Dkt. No. 155-7 at 3).

                                  12            Vendors purchase their own tools and equipment11 and choose which services they will
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                                  13   provide. Hunter Dep. at 27:25–28:1. They are not required to have prior experience and

                                  14   frequently did not have any. E.g., McLain Dep. at 149:11–16 (Dkt. No. 196-25); Pyzer Dep. at

                                  15   30:3–13 (Dkt. No. 196-26); Bowerman Dep. at 50:1–3 (Dkt. No. 196-27); Montes Dep. at 22:9–21

                                  16   (Dkt. No. 196-28). FAS then assigns work to vendors through work orders on FAStrack which

                                  17   vendors must accept or reject within 24 hours. Hunter Dep. at 126:20–22; 174:15–20; see also

                                  18   2011 (Dkt. No. 155-38 at 2). FAS reserves the right to reassign work orders if vendors fail to

                                  19   respond within 24 hours. E.g., 2013 VQP (“We expect acceptance or decline responses within a

                                  20   few hours, but will reassign a work order to another vendor, with or without notification, if a

                                  21   response has not been received within 24 hours.”). Work orders include the name of the vendor,

                                  22   the amount the vendor will be paid, the address of the property, the FAS contacts for the property,

                                  23   and a set of “work instructions,” which include detailed tasks to complete per client specifications.

                                  24   Hunter Dep. at 37:10–13; see e.g., FAS Work Order (Duckworth Decl. ¶ 10, Ex. 7, Dkt. No. 155-

                                  25
                                       11
                                  26      Plaintiffs point to vendor testimony that they were required to purchase specific tools and
                                       equipment. E.g., Cohick Dep. at 47:1–24; 79:3–18; 134:1–4 (Dkt. No. 196-14); Bates Dep. at
                                  27   116:18–118:16 (Dkt. No. 196-19); Purkett Dep. at 106:22–108:16 (Dkt. No. 196-20); Murray Dep.
                                       at 106:6–107:12 (Dkt. No. 196-22); Frankian Dep. at 104:9 – 12 (“I had to buy a third [vehicle]
                                  28   because Alex and Paul Buccola at a training seminar advised me that I had to buy another one to
                                       get more work and expand my coverage area.”)(Dkt. No. 196-33).
                                                                                          6
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                                   1   8). Once a vendor accepts a work order, the work must be completed within three days. Hunter

                                   2   Dep. at 175:22–24; see also VQPs “Vendor Service Schedule” (Dkt. Nos. 155-35 at 13; 155-36 at

                                   3   13; 155-37 at 13). Vendors performing certain services are required to post a notice, provided by

                                   4   FAS through a work order, that the property is maintained by FAS. Id. at 115:9–23; see also

                                   5   Vinson Dep. at 40:11–18 (Dkt. No. 196-21).

                                   6            Once the work is completed, the invoice and required photo documentation must be

                                   7   uploaded to the FAS system within 24 hours. FAS Work Order (Dkt. No. 155-8 at 3); see also

                                   8   2013 VQP (Dkt. No. 155-39 at 3). “Failure to do so will result in loss of payment[,] but if a

                                   9   vendor is providing more than one service, “[l]ate invoices will result in a 10% penalty assessed to

                                  10   the full invoice amount.” 2013 VQP (Dkt. No. 155-39 at 3). Payment is approved only after FAS

                                  11   has reviewed all before, during, and after photos. FAS Work Order (Dkt. No. 155-8 at 3). Work

                                  12   orders inform vendors that if work is “not completed in accordance with the instructions provided
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                                  13   and conditions set forth in the work order, no fee will be paid[.]” FAS Work Order (Duckworth

                                  14   Decl. ¶ 10, Ex. 7, Dkt. No. 155-8 at 2).

                                  15            Vendors set a cap on the number of work orders they can handle, but FAS can lower it.

                                  16   Hunter Dep. at 164–165; see also Pilisko Email and Authenticating Dep. (Miller Decl. ¶ 4, Ex. 1,

                                  17   Dkt. No. 196-2)). Plaintiffs contend that vendors “[i]n theory” can decline a work order, but FAS

                                  18   will penalize them by, “among other things, providing less work in the future.”12 MPSJ at 6; see,

                                  19   e.g., FAS Email Exchange and Authenticating Dep. (“[H]e [the vendor] is continuing to decline

                                  20   many work orders on or past day 3 and not communicating with FAS on a daily basis. … he has

                                  21   been placed on hold and been removed from preferred vendor status.”)(Miller Decl. ¶ 10, Ex. 7,

                                  22   Dkt. No. 196-8 at 2); Bowerman Dep. at 39:9–22; 152:20–153:10 (Duckworth Decl. ¶ 6, Ex. 3,

                                  23   Dkt. No. 155-4); Purkett Vendor Profile Notes (Duckworth Decl. ¶ 37, Ex. 33, Dkt. No. 155-34 at

                                  24   3)(“The declining of jobs that are listed in your coverage area can result in the lowering of your

                                  25
                                       12
                                  26     Plaintiffs submitted an email correspondence in which a vendor attempted to decline a work
                                       order “the last couple of times” due to concerns about the condition of the property and lacking the
                                  27   proper equipment. Email Exchange between Vendor Dunham and FAS coordinator McMillan and
                                       Authenticating Dep. (Miller Decl. ¶ 9, Ex. 6, Dkt. No. 196-7). FAS responds, “If I have to pay
                                  28   another vendor to complete this I will have to charge you back for the increase. … This needs to
                                       be take [sic] care of ASAP.” Id.
                                                                                         7
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                                   1   status as a top tier vendor.”); Kleisner Vendor Profile Notes (Duckworth Decl. ¶ 44, Ex. 45, Dkt.

                                   2   No. 155-46 at 4)(“When I [FAS vendor administrator] send out emails like the ones I did today

                                   3   [warning against ‘cherry-picking’ work orders] to CA vendors, usually they’ll respond that they

                                   4   can accept the order, once they realize the ramifications they started by declining.”). FAS asserts

                                   5   that vendors are permitted to select amongst the work orders. Hunter Dep. at 168:14–25. FAS’s

                                   6   PMK maintains that FAS does not track how often vendors decline work, “however, it is captured

                                   7   as one of the factors on the scorecard.” Id. at 187:13–21.

                                   8            FAS uses “vendor blasts … to communicate information that could apply to a large group

                                   9   of vendors.” Hunter Dep. at 295:5–7; see also Valentino Dep. at 71:16–23 (Miller Decl., Ex. 10,

                                  10   Dkt. No. 196-11). Examples of “vendor blasts” include a pricing guideline for submitting invoices

                                  11   for lawn service, Valentine Email (Miller Decl. ¶ 13, Ex. 10, Dkt. No. 196-11), and a Letter

                                  12   regarding changes to Vendor Scorecards. Duckworth Decl., Ex. 16 (Dkt. No. 155-17). The
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                                  13   “metrics” captured in the scorecards includes: on time completion percentage, inspections scores,

                                  14   broker signoff score, work order response time, vendor work order acceptance, QC approval

                                  15   percentage, and photo request percentage. Id. FAS’s PMK frames the scorecards as “primarily a

                                  16   tool for the vendor to use and being able to manage their businesses and to see how certain areas

                                  17   they were doing.” Hunter Dep. at 225:16–18. But the vendor blast notifying vendors of changes

                                  18   to the scorecard system discloses that FAS is “increasing the number of metrics we will look at to

                                  19   assess your performance.” Ex. 16 (Dkt. No. 155-17). While FAS maintains that it stopped using

                                  20   the scorecard system sometime in 2013, Hunter Dep. at 226:8–10, plaintiffs point to evidence that

                                  21   the system was used as late as December 2016. Olivier Decl. ¶ 82, Ex. 70, Dkt. No. 191-

                                  22   71[placeholder]; Dkt. No. 190-4 [unredacted version filed under seal].

                                  23            FAS also supervises vendors’ work through frequent updates,13 photo documentation

                                  24   requirements,14 and quality control site inspections. MPSJ at 8–11. Clients are not part of the

                                  25
                                       13
                                  26      Plaintiffs provide testimony that vendors were required to check in daily. E.g., Magdaleno Dep.
                                       at 197:11; Cohick Dep. at 112:13–14 (Dkt. No. 188-4).
                                  27   14
                                         The photo documentation requirements are quite stringent, mandating before, during, and after
                                  28   photos “from the same perspective, frame, and angle.” Hunter Dep. at 197:2–9; see also 2013
                                       VQP (Dkt. No. 155-39 at 4). One vendor described a particular example,
                                                                                      8
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                                   1   quality process. Hunter Dep. at 238:3–4. FAS’s “quality control program [] ensures all service

                                   2   work is performed according to specifications and done in a timely, competent manner.” See, e.g.,

                                   3   2009 VQP (Dkt. No. 155-35 at 12). The program includes “frequent random inspections”

                                   4   inspections, after which FAS’s “QC department will contact [a vendor] immediately if [the

                                   5   vendor’s] invoice is insufficient and will give 24 hours for a resolution.” Id.; 2013 VQP (Dkt. No.

                                   6   155-39 at 4). Vendors are required to correct “unacceptable or incomplete work” at no cost. Id.

                                   7   If vendors fail to respond to quality control representatives, FAS reserves the right to use another

                                   8   vendor to remedy the problem at the expense of the original vendor. Id.; see also Hunter Dep. at

                                   9   195:4–11. This section of the VQP also dictates, “Your score and standing with FAS will, in no

                                  10   small part, depend on the reviews completed by our Field QC team.” Id.

                                  11          The Approved Vendor Quality Policy attached to the 2009 VQP provides,
                                                    Vendor Status Recommendations and Reporting: Through the
                                  12                findings and results of FieldQC Inspections, each Field QC Team
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                                                    member is responsible for providing recommendation(s) to Vendor
                                  13                Management pertaining to promotions, adjustments, or denial of
                                                    Vendor use and/or Vendor status. Furthermore, Field QC Team
                                  14                members are charges with the task of recommending whether or not
                                                    a non compliant offense is significant repetition or magnitude to be
                                  15                considered for stages of progressive discipline, as defined and
                                                    outlined below.
                                  16
                                       Approved Vendor Quality Policy (Dkt. No. 155-18 at 28). The policy details the progressive
                                  17
                                       discipline scale, which includes: stage one (10 percent or $100 penalty, verbal warning, and
                                  18
                                       requirement to submit written description of in house quality control program), stage two (15
                                  19
                                       percent or $150 penalty, reduction in work order capacity, and written warning placed in vendor’s
                                  20

                                  21

                                  22          [T]o show that I was cleaning windows, I would have to take a before
                                              picture of the window, a picture showing that I was using Windex-brand
                                  23          glass cleaner, a picture that showed the spray coming out of the Windex
                                              bottle, a picture of the Windex product on the surface of the window, a
                                  24          picture of a clean rag, a picture of a hang wiping the rag across the dirty
                                              window, a picture of the dirty rag at the end of the cleaning to show the dirt
                                  25          on it, and a picture of the clean window….Some of these pictures were
                                              pretty difficult to take, as I would often have to snap several pictures trying
                                  26          to get one that actually captured the spray coming out of the Windex bottle.

                                  27   R. Pyzer Decl. ¶ 17 (Duckworth Decl. ¶ 124, Ex. 125, Dkt. No. 157-25). FAS frames its photo
                                       requirements as merely “verify[ing] that the work a vendor accepts has been completed, and meets
                                  28   the client’s specifications, before payment is made.” Opp’n to MPSJ at 11.

                                                                                         9
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                                   1   permanent FAS vendor profile), stage three (25 percent or $250 penalty, loss of preferred vendor

                                   2   status, revocation of payment, reduction in work order capacity, immediate 30 day probationary

                                   3   period and mandatory field meeting with FAS representatives), stage four (50 percent or $500

                                   4   penalty, immediate 90 day suspension of approved status, mandatory inspection of all work

                                   5   orders, chargeback for correction costs, reduction in work order capacity, and follow up

                                   6   conference at end of suspension), and stage five (immediate termination without recourse and no

                                   7   eligibility for rehire). Id. (Dkt. No. 155-18 at 29–30); e.g., Rangel (FAS Operations Supervisor)

                                   8   Recommendation to Proceed with Stage 3 Discipline for a particular vendor (Miller Decl. ¶ 11,

                                   9   Ex. 8, Dkt. No. 196-9); see generally Hunter Dep. at 211–238 (describing general quality control

                                  10   program).

                                  11          “In approximately 2010,” FAS reduced the Five Stage program to Three Stages, “in order

                                  12   to be more effective in recommending action due to quality deficiencies.” Hunter Dep. at 218:21–
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                                  13   22; FAS Vendor Blast and Authenticated Dep. (Miller Decl. ¶ 7, Ex. 4, Dkt. No. 196-5). The new

                                  14   stages are no longer numbered, but labeled initial notification of non compliance, final notification

                                  15   of non compliance, and non compliance termination. Id. When an invoice is declined for quality

                                  16   control reasons, it is automatically captured in a vendor’s “scorecard.” Id. at 211:3–8.

                                  17          Plaintiffs point to “mandatory training” provided by FAS—pertaining to FAS proprietary

                                  18   software and also to the specific tasks performed by vendors. 2013 VQP (“Completion of

                                  19   training is required prior to receiving work orders.”)(emphasis in original)(Dkt. No. 155-7 at

                                  20   3); see also FASTrack Mobile Training (Duckworth Decl. Ex. 13, Dkt. No. 155-14); Winterization

                                  21   Training (Duckworth Decl. Ex. 14, Dkt. No. 155-15); Email Exchange Re: Mandatory Training

                                  22   Follow Up and Authenticating Dep. (Dkt. No. 196-34); Mezin Dep. at 91:1–22. FAS counters

                                  23   with vendor testimony that they were never offered any training. Opp’n to MSPJ at 9 n.18.

                                  24   However, FAS’s own marketing material indicates that it provides “initial and ongoing training.”

                                  25   Our National Vendor Network (Duckworth Decl. ¶ 7, Ex. 4, Dkt. No. 155-5).15 Its PMK states

                                  26
                                       15
                                  27     This document also notes that FAS “handle[s] every detail of the vendor relationship,” and
                                       “[o]ur technology and our expertise enable us to scrutinize every order from placement to
                                  28   completion. This enables us to measure every vendor on every step of every job.” Our National
                                       Vendor Network (Duckworth Decl. ¶ 7, Ex. 4, Dkt. No. 155-5).
                                                                                       10
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                                   1   that “FAS offers certain informational sessions to the vendors which we call REO Training

                                   2   Wagons.” Hunter Dep. at 282:7–9 (Dkt. No. 198-4). These training wagons are offered

                                   3   “approximately a dozen [times] per year per region.” Id. at 282:12–13. Although FAS insists that

                                   4   these trainings were not mandatory, they are labeled as “MANDATORY.” Id. at 282:17–25; see

                                   5   Personal Invitation to the REO Training Wagon and Authenticating Dep. (Dkt. No. 196-35). It

                                   6   also hosts a vendor convention in Texas, but the parties dispute whether attendance was

                                   7   mandatory. Compare Mezin Dep. at 69:12–70:2, 92:8–18 (Dkt. No. 155-26), with Ackel Dep. at

                                   8   78:24–80:5.

                                   9          B.     Particular Class Members
                                  10                 1.      Julia Magdaleno (f.k.a. Bowerman)16
                                  11          In 2008, Julia Magdaleno married plaintiff Fred Bowerman, owner of “sole proprietorship”

                                  12   BB Home Services (“BBHS”), a company that contracted with FAS beginning in 2007. See
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                                  13   BBHS 2012 W-9 (Perez Decl. ¶ 2, Ex. 2, Dkt. No. 152-2 at 7); Magdaleno Dep. at 12:23–25 (Dkt.

                                  14   No. 152-4 at 57). Prior to that, Magdaleno was an employee of BBHS. Magdaleno Responses to

                                  15   FAS RFA (Perez Decl. ¶ 6, Ex. 5 (Dkt. No. 152-2 at 17). After the marriage, Magdaleno ceased

                                  16   collecting paychecks from BBHS, and considered herself a “manager” but not an “owner” of

                                  17   BBHS. Magdaleno Dep. at 28:11–16. Subsequent testimony states that she considered herself an

                                  18   owner of BBHS when she married Bowerman. Id. at 174:13–16. She became a co-signor on

                                  19   BBHS’s bank account, entered into contracts on BBHS’s behalf, and received work orders from

                                  20   FAS with her name. Magdaleno Dep. at 186:1–9; 193:22–24.

                                  21                 2.      Matthew Cohick
                                  22          In 2003, Cohick started Monster Mowers as a sole proprietorship dedicated to a range of

                                  23   landscaping services, “from installation to maintenance.” Cohick Dep. at 21, 22:11–23:12 (Dkt.

                                  24   No. 152-4 at 98). Cohick worked for homeowners and operated the company with a single truck,

                                  25   a lawnmower, a weed whacker, a leaf blower, and a chainsaw. Cohick Dep. at 29:12–14; 78:13–

                                  26   79:2. He started servicing properties for FAS in 2006, and soon grew into “a full-service vendor

                                  27
                                       16
                                  28      I will reference Magdaleno’s testimony as “Magdaleno,” even though her name was Bowerman
                                       at the time.
                                                                                      11
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                                   1   … from trash outs to initials to winterizations to landscape to other repairs… .” Id. at 23:6–12.

                                   2   He reportedly ran one advertisement during the time frame from 2003 to present, “but nothing to

                                   3   do with property preservation work.” Id. at 51:22–25. He later clarified that the advertisement

                                   4   had to do with landscaping services, targeted at homeowners. Id. at 52:1–14. He operated a home

                                   5   office and reportedly “bought office equipment for Field Asset Services.” Id. at 46:11–13. FAS

                                   6   required him to “have a cell phone, download their program, their software, cameras, cell phones,

                                   7   computers, fax and printer… .” Id. at 47:3–16.

                                   8          Between 2006 and 2014, Monster Mowers employed between 15 and 30 people, and

                                   9   sometimes used 15 to 30 subcontractors.17 Id. at 60:14–61:3, 64:8–65:8. He testified that he had

                                  10   to secure workers to help him meet FAS’s work orders. Id. at 70:20–21; 77:14–78:4. According

                                  11   to Cohick, “Field Assets trained [his] employees.” Id. at 70:15–16.

                                  12          In 2010, Monster Mowers incorporated and elected Cohick as a director. Articles of
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                                  13   Incorporation (Perez Decl., Ex. 6, Dkt. No. 152-2 at 29). It received its California State

                                  14   contractor’s license in 2011. Cohick initially declared that he “worked exclusively for FAS from

                                  15   2006 until late 2012,” but later stated he worked 99.9 percent of the time for FAS.18 Cohick Decl.

                                  16   ¶ 2; Cohick Dep. at 31:9–31:23. He recalled a specific period between August 2012 and May

                                  17   2013 in which he worked for Asset Management Specialists, another property preservation

                                  18   company. Id. at 33:10–15. Between 2006 and 2008, he worked for FAS seven days a week for 12

                                  19   to 19 hours a day. Id. at 138:16–139:11 (Dkt. No. 188-4). A “[c]ouple of times a year or more”

                                  20   FAS inspectors would inspect the way work was done, how it was done, the quality of the work,

                                  21   and to make sure it was done to completion. Id. at 110:24–111:18. FAS terminated Cohick

                                  22   around May 2013. Monster Mowers Profile Notes (Perez Decl. ¶ 17, Ex. 21, Dkt. No. 152-4 at 1).

                                  23
                                       17
                                  24     FAS asserts that some of Cohick’s employees have sued him over a variety of concerns,
                                       including misclassification. That evidence is irrelevant to the issues in this case.
                                  25   18
                                         While FAS points to Monster Mower’s 1099s to challenge the veracity of Cohick’s
                                  26   representation, “any discrepancy between the annual income Monster Mowers reports and the
                                       income the company received from FAS” is irrelevant to the analysis. Besides, plaintiffs point out
                                  27   that “if FAS had looked through its own records, it would have realized that it had issued Cohick
                                       not just one, but two, 1099s in 2009, one to Matthew Cohick and one to Matthew Jay Cohick,
                                  28   which fully explains the supposed ‘discrepancy.’” Opp’n to MSJ at 15 (Dkt. No. 188).

                                                                                        12
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                                                      3.      Eric Ackel
                                   1
                                              Ackel’s company Kurb Appeal, Inc., began doing work for FAS around 2008 or 2009, and
                                   2
                                       continued for about two to three years. Ackel Dep. at 44:13–15; 53:9–11 (Perez Decl. Ex. 29,
                                   3
                                       Dkt. No. 152-4 at 169). Before that, Ackel operated several other corporations. Id. at 15:21–17:1.
                                   4
                                       When Kurb Appeal entered the property preservation business, it only provided services for FAS.
                                   5
                                       Id. at 26:9–18. Kurb Apeal had its own office space where it stored its equipment. Id. at 32:17–
                                   6
                                       35:1. It did not advertise, but may have had business cards. Id. at 35:2–12. Kurb Appeal hired
                                   7
                                       twenty different people to help with property preservation work, but Ackel only met four of them
                                   8
                                       in person. Id. at 37:25–38:12; 73:15–17. He would post an advertisement for work on craigslist
                                   9
                                       and explain the work over the phone. Id. at 72:3–4. FAS did not tell Ackel to hire people, nor did
                                  10
                                       they ask him if he had. Id. at 63:8–15.
                                  11
                                              Ackel personally performed property preservation work on average 14 to 16 hours a day,
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                                       seven days a week. Id. at 62:6:9; 64:21 (Dkt. No. 188-5). He recalls about 30 occasions when
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                                  13
                                       FAS came to properties unannounced to inspect the work. Id. at 66:12–16; 74:6–11. FAS
                                  14
                                       representatives might spend anywhere from 20 minutes to three hours on a property. Id. at 67:1–3.
                                  15
                                       FAS profile notes indicate that it ended its relationship with Kurb Appeal due to “lack of
                                  16
                                       communication.” Id. at 84:24–85:2. Ackel reports that he decided not to do FAS work anymore
                                  17
                                       “[b]ecause of the money.” Id. at 85:5–9.
                                  18
                                       II.    PROCEDURAL BACKGROUND
                                  19
                                              Plaintiffs filed this class action complaint against FAS on January 7, 2013 (Dkt. No. 1),
                                  20
                                       and filed an amended complaint on February 15, 2013. First Amended Compl. (“FAC”)(Dkt. No.
                                  21
                                       4). The first amended complaint brings causes of action for: (1) breach of contract; (2) breach of
                                  22
                                       the covenant of good faith and fair dealing; (3) willful misclassification of independent contractor
                                  23
                                       status, Cal. Labor Code §§ 226.8, 2753; (4) failure to pay overtime compensation, Cal. Labor
                                  24
                                       Code §§ 510, 1194, 1198; (5) failure to pay wages due and owing, Cal. Labor Code § 200 et seq.;
                                  25
                                       (6) failure to indemnify employees for business expenses, Cal. Labor Code § 2802; (7) violations
                                  26
                                       of the Unfair Competition Law (“UCL”), Cal. Bus. & Prof. Code § 17200 et seq.; and (8) failure
                                  27
                                       to comply with Labor Code provisions in violation of the Private Attorney General Act
                                  28
                                                                                        13
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                                   1   (“PAGA”), Cal. Labor Code § 2699 et seq. FAC ¶¶ 36-83.

                                   2          On September 17, 2014, I denied plaintiffs’ motion for class certification, but left open the

                                   3   possibility “that a better defined, narrower class would be certifiable.” Order on Mot. for Class

                                   4   Certification (“Prior Order”)(Dkt. No. 61). Within 60 days, plaintiffs filed a renewed motion to

                                   5   certify a class under Federal Rule of Civil Procedure 23(b)(3), which proposed narrowing the class

                                   6   definition. Pls.’ Renewed Mot. (Dkt. No. 65). On January 26, 2015, I supplied a summary order

                                   7   granting plaintiffs’ renewed motion, Summary Order (Dkt. No. 78), and on March 24, 2015, I

                                   8   issued a reasoned decision “explain[ing] that the modifications plaintiffs made to the proposed

                                   9   class definition allow for common questions of law and fact to predominate over questions

                                  10   affecting only individual class members[.]” Order Granting Renewed Mot. for Class Certification

                                  11   at 1 (“Certification Order”)(Dkt. No. 85). The certified class is defined as:

                                  12                  All persons who at any time from January 7, 2009 up to and
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                                                      through the time of judgment (the “Class Period”) (1) were
                                  13
                                                      designated by FAS as independent contractors; (2) personally
                                  14                  performed property preservation work in California pursuant to
                                                      FAS work orders; and (3) while working for FAS during the Class
                                  15                  Period, did not work for any other entity more than 30 percent of
                                                      the time. The class excludes persons who primarily performed
                                  16                  rehabilitation or remodel work for FAS.
                                  17   Pl.’s Renewed Mot. at 1: 7–10.
                                  18          On May 25, 2015,19 the class administrator mailed notice to 628 individuals at 729
                                  19   addresses, based on a list of 680 vendors identified by FAS as having provided services in
                                  20   California during the class period.20 Cubre Decl. ¶ 14; Olivier Decl. ¶ 4 (Dkt. No. 191-1). To aid
                                  21   in discovery,21 I identified a group of “Discovery Vendors” as “(1) vendor declarants in this case;
                                  22
                                       19
                                  23     Defendants’ motion to decertify, and declaration in support thereof, incorrectly identified this
                                       date as May 25, 2016. See Mot. to Decertify at 5; Cubre Decl. ¶ 14. FAS previously indicated
                                  24   that class notice occurred in May 2015. See, e.g., Aurelio Decl. ¶ 3 (Dkt. No. 96).
                                       20
                                  25      Of the 680 vendors, plaintiffs claim that 48 are clearly in the class, while 30 are excluded. Mot.
                                       to Decertify at 7. According to defendants, this leaves approximately 90 percent of vendors with
                                  26   an unknown status of whether they meet the class definition. Id. Plaintiffs state that, to date, they
                                       are aware of 125 individuals who meet the class definition. Opp’n to Mot. to Decertify at 4.
                                  27   21
                                         The parties have brought numerous discovery disputes to my attention. See Dkt. Nos. 111, 113,
                                  28   114, 115, 125, 127, 135, 140, 141, 143.

                                                                                        14
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                                   1   (2) vendor deponents in this case; and (3) an additional ten percent of vendors to whom the class

                                   2   notice was sent.” Further Order on Discovery Disputes at 1:24–25 (Dkt. No. 118). The parties

                                   3   agreed upon a list of 10722 Discovery Vendors (Discovery Vendor Group or “DVG”). Mot. to

                                   4   Decertify at 6; Cubre Decl. ISO Mot. to Decertify ¶ 15; Cubre Decl. ISO Defs.’ Opp’n to Pls.’

                                   5   MPSJ ¶ 2 (Dkt. No. 189-2). Plaintiffs assert that 47 have self-identified as class members, 40 have

                                   6   self-identified as non-class members, while the remaining 21 had either confidentially settled

                                   7   claims with FAS, or were unreachable. Opp’n at 4; Olivier Decl. ¶ 6.

                                   8           On June 2, 2016, class administrator mailed a copy of the “Class Member Questionnaire”

                                   9   to the 107 discovery vendors; verified responses were received from just thirteen vendors.23 Mot.

                                  10   to Decertify at 6; Cubre Decl. ¶ 2; Olivier Decl. ¶ 9. According to FAS, only 27 of the 65 noticed

                                  11   depositions of Discovery Vendors took place.24 Mot. to Decertify at 6. Plaintiffs contend that 45

                                  12   individuals in the DVG were deposed, and 39 submitted declarations (with some overlap between
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                                  13   deponents and declarants). Olivier Decl. ¶ 8. Eighteen Discovery Vendors produced responsive

                                  14   documents, but none of them provided information on the number of hours or percentage of time

                                  15   they contracted with FAS. Mot. to Decertify at 6. Fact discovery closed on December 5, 2016.25

                                  16   Id. at 8.

                                  17           On January 4, 2017, FAS moved for class decertification, Mot. to Decertify (Dkt. No.

                                  18   154), and summary judgment as to potential class members Julia Magdaleno (f/k/a Bowerman),

                                  19   Matthew Cohick, and Eric Ackel, Mot. for Summary J. (“FAS MSJ”)(Dkt. No. 152[redacted],

                                  20   Dkt. No. 151-4[under seal]). The same day, plaintiffs moved for summary judgment on (1)

                                  21

                                  22   22
                                         Plaintiffs indicate that the DVG consists of 108 individuals—106 initially identified and an
                                  23   additional two self-identified as Class Members. Olivier Decl. ¶ 5.
                                       23
                                  24     Claims administrator received six responses, Dang Decl. ¶ 5, while seven were reportedly sent
                                       directly by plaintiffs’ counsel. Cubre Decl. ¶ 17, 19.
                                  25   24
                                          Of the 65 noticed deponents, plaintiffs now assert that 19 are in the class and 29 are not. Mot.
                                  26   to Decertify at 7.
                                       25
                                  27     Class counsel has continued interviewing potential class members as part of damages discovery.
                                       Opp’n at 4; Olivier Decl. ¶ 10. Of 177 individuals who performed property preservation work for
                                  28   FAS during the class period, 78 have self-identified as class members and 99 have self-identified
                                       as non-class members. Id.
                                                                                        15
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                                   1   “FAS’s affirmative defense that Plaintiffs and Class Members are independent contractors”; (2)

                                   2   “FAS’s liability under California law for failing to pay the Class overtime”; and (3) “FAS’s

                                   3   liability under California law for failing to reimburse the Class for reasonable and necessary

                                   4   business expenses.” Pls.’ Mot. for Partial Summary J. (“Pls.’ MPSJ”)(Dkt. No. 155).

                                   5          I heard argument from the parties on February 22, 2017, during which I asked the parties

                                   6   to submit a joint table of identified class members, listing FAS’s objections and plaintiffs’

                                   7   response. Dkt. No. 199. The parties submitted that table, listing 126 class members, on March 2,

                                   8   2017. Dkt. No. 201.

                                   9                                          LEGAL STANDARD

                                  10   I.     FEDERAL RULE OF CIVIL PROCEDURE 23
                                  11          Federal Rule of Civil Procedure 23 governs class actions. “Before certifying a class, the

                                  12   trial court must conduct a rigorous analysis to determine whether the party seeking certification
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                                  13   has met the prerequisites of Rule 23.” Mazza v. Am. Honda Motor Co., Inc., 666 F.3d 581, 588

                                  14   (9th Cir. 2012) (internal quotation marks omitted). The burden is on the party seeking certification

                                  15   to show, by a preponderance of the evidence, that the prerequisites have been met. See Wal–Mart

                                  16   Stores, Inc. v. Dukes, 131 S.Ct. 2541, 2551 (2011); Conn. Ret. Plans & Trust Funds v. Amgen Inc.,

                                  17   660 F.3d 1170, 1175 (9th Cir. 2011).

                                  18          Certification under Rule 23 is a two-step process. The party seeking certification must first

                                  19   satisfy the four threshold requirements of Rule 23(a), numerosity, commonality, typicality, and

                                  20   adequacy. Specifically, Rule 23(a) requires a showing that:

                                  21          (1) the class is so numerous that joinder of all members is impracticable;

                                  22          (2) there are questions of law or fact common to the class;

                                  23          (3) the claims or defenses of the representative parties are typical of the claims or defenses
                                              of the class; and
                                  24
                                              (4) the representative parties will fairly and adequately protect the interests of the class.
                                  25
                                       Fed. R. Civ. P. 23(a).
                                  26
                                              The party seeking certification must then establish that one of the three grounds for
                                  27
                                       certification applies. See Fed. R. Civ. P. 23(b). Plaintiffs invoke Rule 23(b)(3), which provides
                                  28
                                                                                         16
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                                   1   that a class action may be maintained where the court finds that the questions of law or fact

                                   2   common to class members predominate over any questions affecting only individual members,

                                   3   and that a class action is superior to other available methods for fairly and efficiently adjudicating

                                   4   the controversy. The matters pertinent to these findings include:

                                   5          (A) the class members’ interests in individually controlling the prosecution or defense of
                                                  separate actions;
                                   6
                                              (B) the extent and nature of any litigation concerning the controversy already begun by or
                                   7              against class members;
                                   8          (C) the desirability or undesirability of concentrating the litigation of the claims in the
                                                  particular forum; and
                                   9
                                              (D) the likely difficulties in managing a class action.
                                  10
                                       Fed. R. Civ. P. 23(b)(3).
                                  11
                                              An order certifying a class “may be altered or amended before final judgment.” Fed. R.
                                  12
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                                       Civ. P. 23(c)(1). “In considering the appropriateness of decertification, the standard of review is
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                                  13
                                       the same as a motion for class certification: whether the Rule 23 requirements are met.” Ridgeway
                                  14
                                       v. Wal-Mart Stores, Inc., 2016 WL 4529430, at *12 (N.D. Cal. Aug. 30, 2016). The burden of
                                  15
                                       proof remains on the plaintiff. Marlo v. UPS, 639 F.3d 942, 947 (9th Cir. 2011). Parties should
                                  16
                                       be able to rely on a certification order and “in the normal course of events it will not be altered
                                  17
                                       except for good cause,” such as “discovery of new facts or changes in the parties or in the
                                  18
                                       substantive or procedural law.” O'Connor v. Boeing N. Am., Inc., 197 F.R.D. 404, 409-10 (C.D.
                                  19
                                       Cal. 2000).
                                  20
                                       II.    SUMMARY JUDGMENT
                                  21
                                              Summary judgment on a claim or defense is appropriate “if the movant shows that there is
                                  22
                                       no genuine dispute as to any material fact and the movant is entitled to judgment as a matter of
                                  23
                                       law.” Fed. R. Civ. P. 56(a). In order to prevail, a party moving for summary judgment must show
                                  24
                                       the absence of a genuine issue of material fact with respect to an essential element of the non-
                                  25
                                       moving party’s claim, or to a defense on which the non-moving party will bear the burden of
                                  26
                                       persuasion at trial. See Celotex Corp. v. Catrett, 477 U.S. 317, 323 (1986). Once the movant has
                                  27
                                       made this showing, the burden then shifts to the party opposing summary judgment to identify
                                  28
                                                                                         17
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                                   1   “specific facts showing there is a genuine issue for trial.” Id. The party opposing summary

                                   2   judgment must then present affirmative evidence from which a jury could return a verdict in that

                                   3   party’s favor. Anderson v. Liberty Lobby, 477 U.S. 242, 257 (1986).

                                   4          On summary judgment, the Court draws all reasonable factual inferences in favor of the

                                   5   non-movant. Id. at 255. In deciding a motion for summary judgment, “[c]redibility

                                   6   determinations, the weighing of the evidence, and the drawing of legitimate inferences from the

                                   7   facts are jury functions, not those of a judge.” Id. However, conclusory and speculative testimony

                                   8   does not raise genuine issues of fact and is insufficient to defeat summary judgment. See Thornhill

                                   9   Publ’g Co., Inc. v. GTE Corp., 594 F.2d 730, 738 (9th Cir. 1979).

                                  10   III.   CALIFORNIA LAW GOVERNING CLASSIFICATION OF WORKERS AS
                                              EMPLOYEES OR INDEPENDENT CONTRACTORS
                                  11
                                               “Employers have varying responsibilities with respect to persons performing services on
                                  12
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                                       their behalf. These responsibilities depend, in part, on whether those persons are classified as
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                                  13
                                       employees or independent contractors under the Labor Code.” Cristler v. Express Messenger Sys.,
                                  14
                                       Inc., 171 Cal. App. 4th 72, 76 (2009). “Whether a worker is classified as an employee or an
                                  15
                                       independent contractor has great consequences. California law gives many benefits and
                                  16
                                       protections to employees; independent contractors get virtually none.” Cotter v. Lyft, Inc., No. 13-
                                  17
                                       cv-04065-VC, 2015 WL 1062407, at *5 (N.D. Cal. Mar. 11, 2015). Of particular relevance here,
                                  18
                                       employees are generally entitled to overtime compensation, Cal. Labor Code §§ 510, 1194, and
                                  19
                                       indemnification for business expenses, Cal. Labor Code § 2802. Independent contractors are not.
                                  20
                                              “[U]nder California law, once a plaintiff comes forward with evidence that he provided
                                  21
                                       services for an employer, the employee has established a prima facie case that the relationship was
                                  22
                                       one of employer/employee.” Narayan v. EGL, Inc., 616 F.3d 895, 900 (9th Cir. 2010). “[T]he
                                  23
                                       rule is that the fact that one is performing work [ ] for another is prima facie evidence of
                                  24
                                       employment and such person is presumed to be a servant in the absence of evidence to the
                                  25
                                       contrary.” Id. (internal quotation marks and modifications omitted). “Once the employee
                                  26
                                       establishes a prima facie case, the burden shifts to the employer, which may prove, if it can, that
                                  27
                                       the presumed employee was an independent contractor.” Id.
                                  28
                                                                                         18
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                                   1          Because the California Labor Code does not define “employee,” courts generally apply the

                                   2   common law test to distinguish between employees and independent contractors. See Estrada v.

                                   3   FedEx Ground Package Sys., Inc., 154 Cal. App. 4th 1, 10 (2007). Under this test, the defendant’s

                                   4   right to control the manner and means by which the plaintiff’s work is accomplished, rather than

                                   5   the amount of control actually exercised, is the principal factor in assessing whether a plaintiff is

                                   6   an employee or an independent contractor. See Ayala v. Antelope Valley Newspapers, Inc., 59

                                   7   Cal. 4th 522, 533-34 (2014)(“What matters under the common law is not how much control a hirer

                                   8   exercises, but how much control the hirer retains the right to exercise.”)(emphasis in original).

                                   9   Courts have consistently emphasized the significance of this factor. See, e.g., S.G. Borello &

                                  10   Sons, Inc. v. Dep’t of Indus. Relations, 48 Cal.3d 341, 350 (1989)(“The principal test of an

                                  11   employment relationship is whether the person to whom service is rendered has the right to control

                                  12   the manner and means of accomplishing the result desired.”)(internal quotation marks and
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                                  13   modifications omitted); Estrada, 154 Cal. App. 4th at 10 (“The essence of the test is the ‘control

                                  14   of details’ – that is, whether the principal has the right to control the manner and means by which

                                  15   the worker accomplishes the work.”); see also Ruiz v. Affinity Logistics Corp., 754 F.3d 1093,

                                  16   1100 (9th Cir. 2014) (“[T]he right to control work details is the most important or most significant

                                  17   consideration.”) (emphasis omitted).

                                  18          The defendant’s right to control need not extend to every possible aspect of the plaintiff’s

                                  19   work for this factor to indicate the existence of an employee/employer relationship. The relevant

                                  20   question is whether the defendant retains “all necessary control” over the plaintiff’s performance

                                  21   of his job duties. Borello, 48 Cal.3d at 357. In other words, “the fact that a certain amount of

                                  22   freedom is allowed or is inherent in the nature of the work involved does not change the character

                                  23   of the relationship, particularly where the employer has general supervision and control.” Air

                                  24   Couriers Int’l v. Employment Dev. Dep’t, 150 Cal. App. 4th 923, 934 (2007) (internal quotation

                                  25   marks omitted); see also Toyota Motor Sales U.S.A., Inc. v. Superior Court, 220 Cal. App. 3d 864,

                                  26   875 (1990). The right to terminate at will, without cause, provides “strong evidence” of a right to

                                  27   control and an employment relationship. Borello, 48 Cal.3d at 350 (internal quotation marks

                                  28   omitted); see also Ayala, 59 Cal.4th at 533 (“Whether a right of control exists may be measured by
                                                                                         19
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                                   1   asking whether or not, if instructions were given, they would have to be obeyed on pain of at will

                                   2   discharge for disobedience.”) (internal quotation marks and modifications omitted).

                                   3          Because the right to control factor “is often of little use in evaluating the infinite variety of

                                   4   service arrangements,” Borello, 48 Cal.3d at 350, courts applying the common law test may also

                                   5   consider the following “secondary” factors:

                                   6                  (1) whether the worker is engaged in a distinct occupation or
                                                      business, (2) whether, considering the kind of occupation and
                                   7                  locality, the work is usually done under the principal’s direction or
                                                      by a specialist without supervision, (3) the skill required, (4)
                                   8                  whether the principal or worker supplies the instrumentalities, tools,
                                                      and place of work, (5) the length of time for which the services are
                                   9                  to be performed, (6) the method of payment, whether by time or by
                                                      job, (7) whether the work is part of the principal’s regular business,
                                  10                  and (8) whether the parties believe they are creating an employer-
                                                      employee relationship.
                                  11
                                       Estrada, 154 Cal. App. 4th at 10. “Regarding the final secondary factor, the California Court of
                                  12
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                                       Appeal has noted that the label that parties place on their employment relationship ‘is not
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                                  13
                                       dispositive and will be ignored if their actual conduct establishes a different relationship.’” Ruiz,
                                  14
                                       754 F.3d at 1101 (quoting Estrada, 154 Cal. App. 4th at 10-11).
                                  15
                                              The Borello court listed additional factors developed by other jurisdictions considering the
                                  16
                                       issue “in light of the remedial purposes of the legislation”:
                                  17
                                                       (1) the alleged employee's opportunity for profit or loss depending
                                  18                  on his managerial skill; (2) the alleged employee's investment in
                                                      equipment or materials required for his task, or his employment of
                                  19                  helpers; (3) whether the service rendered requires a special skill; (4)
                                                      the degree of permanence of the working relationship; and (5)
                                  20                  whether the service rendered is an integral part of the alleged
                                                      employer's business.
                                  21
                                       Borello, 48 Cal. 3d at 355.
                                  22
                                              The secondary factors “cannot be applied mechanically as separate tests; they are
                                  23
                                       intertwined and their weight depends often on particular combinations.” Germann v. Workers’
                                  24
                                       Comp. Appeals Bd., 123 Cal. App. 3d 776, 783 (1981). “[T]o determine whether a worker is an
                                  25
                                       employee or independent contractor, a court should evaluate each service arrangement on its facts,
                                  26
                                       and the dispositive circumstances may vary from case to case.” Ruiz, 754 F.3d at 1100 (internal
                                  27
                                       quotation marks and modifications omitted).
                                  28
                                                                                         20
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                                   1                                               DISCUSSION

                                   2          I will first address FAS’s attacks against certification of the class, and then move on to a

                                   3   discussion of both parties’ motions for summary judgment.

                                   4   I.     MOTION TO DECERTIFY
                                   5          A.         Decertification
                                   6          As an initial matter, plaintiffs disagree with FAS’s contention that “[d]isputes still exist as

                                   7   to who is even part of the class.” Mot. at 1(Dkt. No. 154); Opp’n at 1 (Dkt. No. 191); Reply (Dkt.

                                   8   No. 194 at 16).26 The joint table of class members lists 126 vendors. Dkt. No. 201. The parties

                                   9   do not dispute the membership of 31 of those individuals, but FAS objects to the remaining 95 on

                                  10   one or more of the following grounds: late entrant, which includes persons disclosed after 12/2, no

                                  11   evidence of a contract signed with FAS, underdetermined whether individual signed a contract

                                  12   with FAS, no discovery received, and affirmative dispute regarding class status. Id.
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                                  13          The disputed nature of over two-thirds of the identified class members is the genesis for

                                  14   this motion to decertify. In the Order Granting Class Certification, I stated:

                                  15                     On this record, I cannot say that the specter of some vendors lacking
                                                         time records is sufficiently threatening to preclude class
                                  16                     certification. This is particularly so given that class membership
                                                         will not depend on an exact determination of the amount of time the
                                  17                     vendor spent working for FAS versus other entities – so long as the
                                                         seventy percent threshold is passed, the requirement will be
                                  18                     satisfied.
                                  19   Certification Order at 13. FAS now argues that “even following extensive discovery—Plaintiffs

                                  20   have failed establish [sic] any manageable way to proceed to trial on a class basis.” Mot. to

                                  21   Decertify at 1.

                                  22          While defendant frames its attack on grounds of commonality, predominance, and

                                  23   superiority, its arguments boil down to one core: the nature of a multi-factor test and factual

                                  24   variations amongst the vendors preclude class treatment because neither side can say that every

                                  25   vendor is an employee or every vendor is an independent contractor. Hr’g Tr. at 12:6–13:10 (Dkt.

                                  26   No. 203[sealed]). Though distinctions are relevant to the various inquiries, they alone are

                                  27
                                       26
                                  28     Because the page numbers on FAS’s Reply brief repeat “iii,” citations will reference the page
                                       number associated with the ECF docket number.
                                                                                   21
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                                   1   insufficient to negate class certification. Throughout its motion, FAS fails to carry its line of

                                   2   attack through the requisite legal tests. Accordingly, it has not undermined the sufficiency of class

                                   3   certification.

                                   4                    1.    Commonality
                                   5           This marks the third time that FAS has identified its “concern that vendors’ business

                                   6   operations were so varied that there could be no common answer regarding independent contractor

                                   7   status under the multi-factored, interdependent Borello test.” Mot. to Decertify at 19. I found

                                   8   before that “[c]ommonality is satisfied here.” Certification Order at 24. I explained, “[t]he key

                                   9   legal issue underlying this case is whether putative class members were misclassified under

                                  10   California law as independent contractors instead of employees[,]” and “this is a common question

                                  11   that is capable of a common resolution for the class.” Id. Although FAS urges that “the more

                                  12   fulsome record [post-discovery] demonstrates far broader variation among potential class
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                                  13   members…,” its arguments are not persuasive. Id. Nonetheless, I will address its points in turn.

                                  14           FAS begins its argument against finding commonality with the most critical factor—the

                                  15   right to control. It identifies some class members who assert that they had the right to control their

                                  16   own work, while others felt that FAS retained various rights.27 Mot. to Decertify at 19. FAS also

                                  17   highlights the distinct business factor as counseling against a finding of commonality here. It

                                  18   notes that some vendors personally completed work for FAS, while others used crews of

                                  19   subcontractors, employees, and/or day laborers and never personally performed any property

                                  20   preservation work. Id. at 20. This argument is easily dispelled when one focuses on the class

                                  21   definition. The only vendors who fall into the class definition (1) were designated by FAS as

                                  22   independent contractors; (2) personally performed property preservation work; and (3) worked for

                                  23   FAS at least 70 percent of the time. Certification Order at 2.

                                  24           It is “the defendant’s right to control the manner and means by which the plaintiff’s work

                                  25
                                       27
                                  26     FAS cites to various class members’ testimony to support its position, but many of the examples
                                       FAS provides pertain to the amount of control actually exercised, not the right to exercise control.
                                  27   See Mot. at 19. This includes information such as the right to turn down work, with or without
                                       repercussion; whether FAS directly supervised the work; whether vendors were required to
                                  28   complete training; and whether FAS dictated work schedules.

                                                                                         22
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                                   1   is accomplished, rather than the amount of control actually exercised [that] is the principal factor

                                   2   in assessing whether a plaintiff is an employee or an independent contractor.” Id. at 6 (citing

                                   3   Ayala v. Antelope Valley Newspapers, Inc., 59 Cal. 4th 522, 533–34 (2014)). Of particular

                                   4   relevance to FAS’s right to control is the agreement defining the relationship between the parties.

                                   5   See, e.g., VQPs (Dkt. Nos. 155-18; 155-35 – 155-40). While FAS insists that “there is no single

                                   6   contract at issue during the class period[,]” I have already found “that all vendors execute the same

                                   7   or similar independent contractor agreements with at-will termination provisions, and that vendors

                                   8   performing property preservation work are expected to comply with highly detailed job

                                   9   specifications.” Certification Order at 15 (footnote omitted). I recognized that the most recent

                                  10   agreement “does not contain an at-will termination provision but rather specifies a one-year term

                                  11   subject to cancellation by either party within thirty-days’ notice, and further allows termination for

                                  12   breach by either party subject to a five-day cure provision.” Id. at 15 n.4 (internal quotation marks
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                                  13   omitted). FAS fails to raise any new charges against commonality.

                                  14                  2.      Predominance
                                  15          In the Certification Order, I summarized the Prior Order’s findings28 and found that

                                  16   “plaintiffs’ new class definition successfully addresses the concerns regarding predominance set

                                  17   out in the prior order.” Certification Order at 16. I highlighted how the new definition limited the

                                  18   variations among class members’ ability to negotiate and dependence on FAS for revenue. Id. at

                                  19   15–19. I concluded that the principal factor and “nearly all of the secondary factors” were

                                  20   susceptible to common proof. Id. at 19.

                                  21          For purposes of class certification, the issue is whether these factors may be applied on a

                                  22   classwide basis, generating a classwide answer on the issue of employee status, or whether the

                                  23
                                       28
                                  24      “In the prior order, I recognized that much of the evidence going to FAS’s right to control was
                                       common to all vendors. Dkt. No. 17. The record indicated then, as it does now, that FAS’s
                                  25   business model is dependent on vendors performing the services that FAS provides, that all
                                       vendors execute the same or similar independent contractor agreements with at-will provisions,
                                  26   and that vendors performing property preservation work are expected to comply with highly
                                       detailed job specifications.” Certification Order at 15 (footnote omitted). I then explained my
                                  27   reasons for initially denying certification because “individualized questions regarding FAS’s right
                                       to control predominated over common ones.” Id. (listing the differences and noting the secondary
                                  28   factors).

                                                                                        23
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                                   1   determination requires too much individualized analysis. Narayan v. EGL, Inc., 285 F.R.D. 473,

                                   2   478 (N.D. Cal. 2012). Plaintiffs emphasize “the most significant consideration,” Ruiz, 754 F.3d at

                                   3   1100, and insist that “[e]xtensive evidence confirms that [FAS] maintains a right of control

                                   4   through uniform policies and practices detailing how work is to be done and consequences when it

                                   5   is not done the way FAS wants.” Opp’n at 6. Plaintiffs cite to (1) work orders dictating the

                                   6   precise manner in which specific tasks are to be performed and the price to be paid; (2) mandatory

                                   7   training on FAS’s proprietary software, as well as “step-by-step instruction on how to perform

                                   8   particular types of work[;]” (3) standardized methods of supervising vendors’ work, including

                                   9   through email updates, photo documentation, and quality control site inspections; and (4) uniform

                                  10   right to discipline vendors whose performance does not meet FAS standards.29 Opp’n at 7–12.

                                  11          I agree with plaintiffs that “[n]one of the ‘new evidence’ proffered by FAS changes my

                                  12   prior ruling. As plaintiffs recognize, FAS improperly focuses on its actual exercise of control over
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                                  13   vendors, rather than its right to exercise that control. Opp’n at 15 (citing Certification Order at

                                  14   19). In the Certification Order, I mentioned as much:

                                  15                  Under this test, the defendant’s right to control the manner and
                                                      means by which the plaintiff’s work is accomplished, rather than the
                                  16                  amount of control actually exercised, is the principal factor in
                                                      assessing whether a plaintiff is an employee or an independent
                                  17                  contractor. See Ayala v. Antelope Valley Newspapers, Inc., 59 Cal.
                                                      4th 522, 533-34 (2014) (“What matters under the common law is not
                                  18                  how much control a hirer exercises, but how much control the hirer
                                                      retains the right to exercise.”) (emphasis in original).
                                  19
                                       Certification Order at 6.
                                  20
                                              I also found in that order that “all vendors execute the same or similar independent
                                  21
                                       contractor agreement with at-will termination provisions... .” Id. at 15:8-9. FAS fails to identify
                                  22
                                       any evidence to convince me otherwise. And while FAS again points to differences among
                                  23
                                       vendors’ corporate form, I have twice discounted that argument’s relevance to certification. Prior
                                  24
                                       Order at 20:23–21:13; Certification Order at 17:17–23 (“While [FAS’s] observation [noting
                                  25
                                       considerable variation in whether class members operate distinct businesses] appears to be factual
                                  26
                                  27   29
                                         Discipline may include “charges/deductions to the Vendors’ payables, verbal and written
                                  28   reprimands, suspension, and termination of a Vendor’s employment.” Opp’n at 10 n.34 (citing
                                       Hunter Dep.).
                                                                                      24
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                                   1   accurate, I am not convinced that it matters.”), 20:2–4 (“And while the distinct business and

                                   2   parties’ beliefs factors will continue to vary between class members, neither of these factors is

                                   3   sufficiently probative in this case for the variation within them to defeat predominance.”). FAS

                                   4   merely identifies some instances where it may not have exercised its right to control in a manner

                                   5   consistent with an employee relationship, but that is not the relevant inquiry here. In all cases,

                                   6   FAS retained “all necessary control” over vendors’ work. Borello, 48 Cal.3d at 357. FAS has

                                   7   failed to convince me that the post-discovery evidentiary record warrants a different analysis of

                                   8   the secondary factors. Accordingly, it remains true that “questions common to the class

                                   9   predominate over individual ones.” Certification Order at 20.

                                  10                  3.      Superiority
                                  11          FAS’s argument devoted to attacking the superiority of class treatment lists a page of legal

                                  12   authority focused on “ascertainability and/or administrative feasibility (rather than Rule 23’s
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                                  13   superiority and manageability requirement),” but it contends, “the rationale is equally applicable

                                  14   here.” Mot. to Decertify at 11. I disagree. The fact that FAS could not identify precedent

                                  15   tracking its reasons against certification is telling. As plaintiffs point out, Opp’n at 18, FAS

                                  16   strategically manipulates its argument given the Ninth Circuit’s recent reminder that class

                                  17   certification should not be denied solely due to manageability concerns. Briseno v. ConAgra

                                  18   Foods, Inc., No. 15-55727, 2017 U.S. App. LEXIS 20, at *11 (9th Cir. Jan. 3, 2017).

                                  19   Unperturbed, FAS devotes the majority of its briefing to identifying factual variances that go to

                                  20   the manageability of this class action. Even plaintiffs cannot dispute that this case presents

                                  21   manageability issues, but Briseno declined to adopt an administrative feasibility prerequisite and

                                  22   affirmed “the well-settled presumption that courts should not refuse to certify a class merely on

                                  23   the basis of manageability concerns.” Briseno, 2017 U.S. App. LEXIS 20, at *11.

                                  24          While administrative feasibility is not a prerequisite to class certification, manageability is

                                  25   still a factor to be considered in a court’s superiority analysis. “Manageability concerns must be

                                  26   weighed against the alternatives and will rarely, if ever, be sufficient to prevent certification of a

                                  27   class.” Trosper v. Styker Corp., No. 13-cv-00607-LHK, 2014 U.S. Dist. LEXIS 117453, at *17

                                  28   (internal quotation marks omitted); see also Briseno, 2017 U.S. App. LEXIS 20, at *12 (holding
                                                                                          25
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                                   1   courts must “balance the benefits of class adjudication against its costs.”). FAS raised the same

                                   2   arguments two years ago when the class was certified. In rejecting FAS’s contentions, I found

                                   3   that “under plaintiffs’ proposed trial plan, FAS’s liability will be determined not by reference to

                                   4   the individual claims of a sample set of class members, but, in plaintiffs’ words, by ‘common

                                   5   proof that goes to FAS’s liability to the class as a whole.’” Certification Order at 21. The same

                                   6   reasoning holds true. Nonetheless, I will address FAS’s concerns, and then conduct the requisite

                                   7   balancing.

                                   8          FAS argues that “[p]roceeding on a classwide basis is not superior to individual

                                   9   adjudication if each class member would be forced to litigate several individualized issues in order

                                  10   to establish his or her right to recover.” Mot. to Decertify at 9. It points to problems with self-

                                  11   identifying class members, the “likelihood [that] the class member will vary from business to

                                  12   business[,]” and it asserts that “[t]he only way to figure out the identity of the class member is to
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                                  13   drill down on how the business is structured and managed.” Id. at 11. For some vendors, the class

                                  14   member could be the “contact person,” the “signatory to the FAS contract,” “the person who runs

                                  15   the business,” or “the person who actually performs the property preservation work.” Id.

                                  16   (emphasis added). But the class definition easily answers defendant’s question: the class member

                                  17   must have personally performed property preservation work. Because of the additional limitation

                                  18   that the class member must have also been “designated by FAS as independent contractors,” the

                                  19   class member will typically be the Vendor-owner. See Certification Order at 1 n.2.

                                  20          FAS also argues that some individuals identified by plaintiffs as class members were “not

                                  21   listed as contact persons for any vendor identified by FAS[,]” “were not sent Class Notice[,]” and

                                  22   did not execute a vendor agreement with FAS. Mot. to Decertify at 12. Some individuals listed as

                                  23   contact persons and sent Class Notice do not fall within the class definition. Id. But plaintiffs

                                  24   dispose of FAS’s concerns by citing to the Certification Order, where I found that the class-

                                  25   definition term “designated by FAS as independent contractors” refers to “vendors that FAS has

                                  26   already identified as having worked for it during the class period.” Certification Order at 9.

                                  27   Plaintiffs further clarify that this term “is simply intended to include Vendor-owners and exclude

                                  28   workers of those Vendors.” Opp’n to Mot. to Decertify at 2 (emphasis in original). Accordingly,
                                                                                         26
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                                   1   the listed contact person is irrelevant to a determination of class membership and immaterial to the

                                   2   superiority analysis. Moreover, neither Rule 23 nor the Due Process Clause requires actual notice

                                   3   to each individual class member. Briseno v. ConAgra Foods, Inc., No. 15-55727, 2017 U.S. App.

                                   4   LEXIS 20, at *13 (9th Cir. Jan. 3, 2017).

                                   5          Next, FAS insists that it has “no way of knowing” which individuals personally performed

                                   6   property preservation services; which vendors work for other entities; and the proportion of time

                                   7   any vendor spent working for another entity. Id. at 13. It states, “[n]ot a single potential class

                                   8   member has produced any records showing what percentage of time he or she worked for FAS as

                                   9   opposed to other entities.”30 Id. It cites to deposition testimony to prove that “the evidence

                                  10   needed to determine class membership has a subjective component that precludes certification and

                                  11   makes this case unmanageable.” Reply (Dkt. No. 194 at 12). It argues that “[d]etermining class

                                  12   membership will require mini-trials that overlap with merits determinations: the percentage of
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                                  13   time vendors spent working for FAS and the type of work they performed, is relevant to the

                                  14   control purportedly retained and exerted by FAS.” Reply (Dkt. No. 194 at 13). It urges that the

                                  15   only way to determine class membership without offending its due process rights is through

                                  16   “individualized analysis [which] defeats the very purpose of class treatment.” Id. at 14–15. And it

                                  17   highlights the 12 percent response rate for the Vendor Questionnaire to conclude there is “no

                                  18   manageable way to collect this ‘percentage’ information short of mini-trials for each potential

                                  19   class member.”31 Id.

                                  20

                                  21   30
                                         FAS identifies potential class members who testified that they have no records of how much
                                  22   time they personally performed property preservation work; do not recall performing property
                                       preservation work at all; or simply do not know whether they meet the class definition. Mot. at
                                  23   13–14. But plaintiffs point out that FAS’s evidence pertains to vendors who are not class
                                       members, and therefore is irrelevant to class certification. Opp’n at 4.
                                  24   31
                                          Plaintiffs take great issue with FAS’s characterization; they cite to numerous records and
                                  25   conclusively state that “[n]o one with whom Class Counsel has had contact has been unable to
                                       determine whether he or she falls within the Class.” Opp’n at 1–2; Olivier Decl. ¶¶ 4–10. And, in
                                  26   case there was any doubt, “every vendor with whom the Parties have had contact has been able to
                                       determine whether he or she falls within the Class.” Opp’n at 3 (emphasis in original); see also id.
                                  27   at 4 (“No individual who has been deposed, submitted a declaration, or with whom Class Counsel
                                       has spoken, has been unable to determine whether he or she falls within or outside the class
                                  28   definition.”).

                                                                                         27
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                                   1           Plaintiffs implore that “FAS’s challenge is not to manageability at all – it is simply a

                                   2   regurgitation of its ascertainability argument, which this Court has repeatedly put to rest.” Opp’n

                                   3   at 18. While I agree that some, if not most, of FAS’s arguments are reconstituted ascertainability

                                   4   objections, they are relevant to the manageability inquiry. See, e.g., In re Korean Ramen Antitrust

                                   5   Litig., No. 13-cv-04115-WHO, 2017 U.S. Dist. LEXIS 7756, at *62 (N.D. Cal. Jan. 19,

                                   6   2017)(“concerns about illegitimate claims and manageability — such as those expressed by

                                   7   defendants here — are accounted for by other provisions of Rule 23”). FAS doesn’t even mention

                                   8   the other factors,32 but concludes that “when individualized issues will ultimately lead to min-

                                   9   trials, the burden on the courts will be greater than allowing class members to litigate individual

                                  10   claims.” Reply (Dkt. No. 194 at 14); see also id. (Dkt. No. 194 at 15)(“It is a stretch to assume

                                  11   that every vendor will pursue litigation if the class is decertified, yet it is a certainty that continued

                                  12   class proceedings will require individual mini-trials that will unnecessarily burden this Court and
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                                  13   the parties and render the class action vehicle ineffective.”).

                                  14           Plaintiffs are correct that “class litigation is superior than adjudicating the claims of over

                                  15   100 class members.” Opp’n at 18 (capitalization omitted). While FAS seems preoccupied with a

                                  16   concern about mini-trials, it either cites to non-class member testimony or to its worries about

                                  17   individualized damages. For purposes of certification, however, the analysis must focus on the

                                  18   requirements of Rule 23. A determination of class certification often involves an overlap with the

                                  19   merits of a case. While the court must treat the substantive allegations in the class action

                                  20   pleadings as true, it is also “at liberty to consider evidence which goes to the requirements of Rule

                                  21   23 even though the evidence may also relate to the underlying merits of the case.” Hanon v.

                                  22   Dataproducts Corp., 976 F.2d 497, 509 (9th Cir. 1992) (internal citations and quotations omitted);

                                  23   see also Certification Order at 3 (“The court may consider supplemental evidence that is submitted

                                  24   by the parties.”).

                                  25

                                  26   32
                                          The superiority factors include: “(A) the class members’ interests in individually controlling the
                                  27   prosecution or defense of separate actions; (B) the extent and nature of any litigation concerning
                                       the controversy already begun by or against class members; (C) the desirability or undesirability
                                  28   of concentrating the litigation of the claims in the particular forum; and (D) the likely difficulties
                                       in managing a class action.” Fed. R. Civ. P. 23(b)(3).
                                                                                          28
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                                   1          Second, self-identification through declarations is an accepted practice. See Briseno, 2017

                                   2   WL 24618, at *9 (“Given that a consumer’s affidavit could force a liability determination at trial

                                   3   without offending the Due Process Clause, we see no reason to refuse class certification simply

                                   4   because that same consumer will present her affidavit in a claims administration process after a

                                   5   liability determination has already been made.”); Certification Order at 12:7–10; Bruton v. Gerber

                                   6   Prods. Co., No. 12-CV-02412-LHK, 2014 U.S. Dist. LEXIS 86581, at *16-17 (N.D. Cal. June 23,

                                   7   2014)(“self-identification may be an acceptable way to ascertain class membership.”). FAS

                                   8   stresses the potential for high-dollar recovery to insist that self-identification raises due process

                                   9   concerns. In addition to already rejecting this argument,33 I have been unable to find any cases

                                  10   supporting FAS’s position, and FAS provides none.

                                  11          Plaintiffs underscore the lack of any viable alternative for class members to pursue their

                                  12   claims and “the drain on resources that would result from these cases proceeding individually” to
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                                  13   conclude that “proceeding as a class in this action is superior to proceeding as numerous

                                  14   individual actions.” Opp’n at 22–23. While I recognize the legitimacy of FAS’s apprehension

                                  15   regarding manageability, it is insufficient to tip the scales away from the superiority of proceeding

                                  16   as a class when its liability to over 100 class members depends on common proof.

                                  17          B.      Expense Reimbursement Claim
                                  18          FAS argues that plaintiffs’ expense reimbursement claim cannot be adjudicated on a

                                  19   classwide basis due to the need for “individualized evidence,” and the fact that “[p]laintiffs seek

                                  20   reimbursement for a wide range of expenses.” Mot. at 22–23. Plaintiffs counter that

                                  21   individualized evidence is unnecessary to determine liability because “FAS has a policy of

                                  22   refusing to pay for the business expenses34 for which Class members now seek reimbursement[.]”

                                  23   Opp’n at 23.

                                  24

                                  25   33
                                         “The vendor declarations submitted by both plaintiffs and FAS indicate that many if not most
                                  26   vendors will be able to self-identify as being in or out of the class.” Certification Order at 12.
                                       34
                                  27      Expenses include: “mileage (required to reach FAS’s job sites); insurance (required before
                                       performing any work for FAS); tools and equipment (required to perform work); cell phones
                                  28   (required to use FAStrack Mobile and to upload photos at job sites); and dump fees (required to
                                       complete work orders).” Opp’n at 23–24.
                                                                                       29
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                                   1          I agree with plaintiffs: “[t]o the extent that there is any individualized evidence needed, it

                                   2   will pertain to damages.” Opp’n at 24. FAS’s liability is based on a common policy, documented

                                   3   through the vendor qualification agreements, the vendor profiles, the scorecards, and the various

                                   4   training materials. As previously noted, “[t]he Ninth Circuit has made clear that the presence of

                                   5   individualized damages cannot, by itself, defeat class certification under Rule 23(b)(3).”

                                   6   Certification Order at 22 (internal quotation marks omitted); see also Briseno v. ConAgra Foods,

                                   7   Inc., No. 15-55727, 2017 U.S. App. LEXIS 20, at *20 (9th Cir. Jan. 3, 2017)(“Rule 23 specifically

                                   8   contemplates the need for such individualized claim determinations after a finding of liability.”).

                                   9   FAS’s arguments concerning the lack of proof regarding whether a class member’s expenses were

                                  10   incurred to provide services for FAS or for personal use and that some class members have already

                                  11   received reimbursement for some expenses all pertain to individualized damages. Accordingly,

                                  12   they must be addressed during the damages phase.
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                                  13          FAS argues in a footnote that “Plaintiffs’ expense reimbursement claim also cannot

                                  14   proceed on a class basis because expenses incurred by business entities do not qualify for

                                  15   reimbursement under section 2802.” Mot. at 24 n.41 (citing Villapando v. Exel Direct Inc., 161 F.

                                  16   Supp. 3d 873, 881 (N.D. Cal. 2016)); Opp’n at 25 n.66. As plaintiffs point out, the cited authority

                                  17   does not support FAS’s position. In Villapando, the Hon. Joseph C. Spero determined that class

                                  18   member drivers could only recover their own expenses, not expenses of others they may have

                                  19   hired. The issue was one of standing to recover those expenses. The same issue does not exist

                                  20   here, where vendor-owners may only recover for expenses they have personally incurred.

                                  21   II.    PLAINTIFFS’ PARTIAL MOTION FOR SUMMARY JUDGMENT
                                  22          “Plaintiffs are entitled to summary judgment on [FAS’s] independent contractor defense

                                  23   only if the undisputed facts, viewed in the light most favorable [to FAS], demonstrate that [FAS]

                                  24   will be unable to meet its burden in establishing that Plaintiffs are independent contractors under

                                  25   California law.” Villalpando v. Exel Direct Inc., No. 12-cv-04137-JCS, 2015 U.S. Dist. LEXIS

                                  26   118065, at *151-52 (N.D. Cal. Sep. 3, 2015). Plaintiffs focus their argument on FAS’s own

                                  27   documents—the vendor qualification packets, work orders, vendor profiles, scorecards, and

                                  28   training material—to highlight the extensive evidence of FAS’s right to control the vendors. And
                                                                                        30
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                                   1   they predominantly rely on driver cases to support their argument. MPSJ at 15–24 (Dkt. No. 155);

                                   2   see Ruiz v. Affinity Logistics Corp., 754 F.3d 1093 (9th Cir. 2014)(reversing district court and

                                   3   finding delivery drivers were employees as a matter of law); Alexander v. FedEx Ground Package

                                   4   Sys., Inc., 765 F.3d 981 (9th Cir. 2014)(same); Narayan v. EGL, Inc., 616 F.3d 895 (9th Cir.

                                   5   2010)(reversing district court’s order granting carrier’s motion that drivers were independent

                                   6   contractors and remanding for determination); N.L.R.B. v. Friendly Cab Co., 512 F.3d 1090 (9th

                                   7   Cir. 2008)(finding taxicab drivers employees protected under the National Labor Relations Act);

                                   8   Villalpando, 2015 U.S. Dist. LEXIS 118065 (finding delivery drivers were employees as a matter

                                   9   of law); O'Connor v. Uber Techs., Inc., No. 13-cv-3826-EMC, 82 F. Supp. 3d 1133 (N.D. Cal.

                                  10   2015)(denying developer’s motion for summary judgment that drivers were independent

                                  11   contractors as a matter of law); Taylor v. Shippers Transp. Express, Inc., No. CV 13-02092 BRO

                                  12   (PLAx), 2014 U.S. Dist. LEXIS 180061 (C.D. Cal. Sep. 30, 2014)( finding delivery drivers were
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                                  13   employees as a matter of law); Arzate v. Bridge Terminal Transp., Inc., 192 Cal. App. 4th 419

                                  14   (2011)(reversing trial court’s order granting defendant’s motion that drivers were independent

                                  15   contractors as a matter of law); Air Couriers Int'l v. Employment Dev. Dep't, 150 Cal. App. 4th

                                  16   923 (2007)(affirming trial court’s finding that delivery drivers were employees as a matter of law);

                                  17   Estrada v. FedEx Ground Package Sys., Inc., 154 Cal. App. 4th 1 (2007)(same); JKH Enterprises,

                                  18   Inc. v. Dep't of Indus. Relations, 142 Cal. App. 4th 1046 (2006)(finding substantial evidence

                                  19   supported conclusion that drivers were employees).

                                  20          FAS’s cases provide little more guidance on how the law should apply to the facts before

                                  21   me. Opp’n at 16–20 (Dkt. No. 189); see Arnold v. Mut. of Omaha Ins. Co., 202 Cal. App. 4th 580

                                  22   (2011)(affirming trial court’s finding that nonexclusive insurance agent was independent

                                  23   contractor as a matter of law); Fireman's Fund Ins. Co. v. Davis, 37 Cal. App. 4th 1432

                                  24   (1995)(finding sales manager was not employee under corporations’ insurance policies);

                                  25   McDonald v. Shell Oil Co., 44 Cal. 2d 785 (1955)(affirming trial court’s judgment of nonsuit

                                  26   finding oil company could not be held liable for injuries sustained by independent contractor’s

                                  27   employee). FAS also highlights the decision in Cotter v. Lyft, Inc., in which the court noted that

                                  28   “[the Alexander and Ruiz] rulings were based on a conclusion that the arrow pointed so strongly in
                                                                                        31
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                                   1   the direction of one status or the other that no reasonable juror could have pointed the arrow in the

                                   2   opposite direction after applying California's multi-factor test.” No. 13-cv-4065-VC, 60 F. Supp.

                                   3   3d 1067, 1078 (N.D. Cal. 2015).

                                   4          While the driver cases present the most recent authority on the issue of worker

                                   5   classification, the nature of the vendors’ work here limits the persuasiveness of those cases.

                                   6   Vendors select and perform a wide variety of tasks. Because the level of skill varies depending on

                                   7   the task, the specifications, training, and level of supervision all vary as well. In some cases, when

                                   8   facts are undisputed, the mixed question of worker status may best be suited for a jury. Narayan,

                                   9   616 F.3d at 901 (“The drawing of inferences from subordinate to ‘ultimate’ facts is a task for the

                                  10   trier of fact—if, under the governing legal rule, the inferences are subject to legitimate

                                  11   dispute.”)(citation omitted); Cotter, 60 F. Supp. 3d at 1077 (“[T]he act of weighing and applying

                                  12   numerous intertwined factors, based on particular facts, is itself generally the job of the jury.”). In
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                                  13   Cotter, the Hon. Vince Chhabria concluded that “there must be a trial” because “a reasonable jury

                                  14   could conclude that the plaintiff Lyft drivers were employees[, b]ut … could also conclude that

                                  15   they were independent contractors.” 60 F. Supp. 3d at 1078; see also Harris v. Vector Mktg.

                                  16   Corp., 656 F. Supp. 2d 1128, 1138 (N.D. Cal. 2009)(“This last point [that some factors weigh in

                                  17   favor of plaintiff and some in favor of defendant] in particular underscores that a summary

                                  18   judgment ruling in favor of [defendant] would not be proper since the existence and degree of each

                                  19   factor is a question of fact for the trier of fact to resolve.” But here, I am convinced that the

                                  20   overwhelming evidence on the most important factor of the test tips the scales clearly in favor of

                                  21   finding an employee relationship.

                                  22          A.      Vendors are Presumptive Employees Under California Law
                                  23          As noted during certification, “[o]nce a plaintiff comes forward with evidence that he

                                  24   provided services for an employer, the employee has established a prima facie case that the

                                  25   relationship was one of employer/employee.” Certification Order at 5 (quoting Narayan v. EGL,

                                  26   Inc., 616 F.3d 895, 900 (9th Cir. 2010)(quotation marks omitted). Since it is undisputed that the

                                  27   vendors provide services for FAS, the burden shifts to the defendants to prove that the vendors are

                                  28
                                                                                          32
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                                   1   independent contractors, and not employees.35

                                   2                   1.      Right to Control36
                                   3            FAS asserts that it does not dictate who does the work, when it gets done, or how it gets

                                   4   done. Opp’n at 6–11 (Dkt. No. 189). And from this conclusion it insists that “vendors – not FAS

                                   5   – retain and exercise the right to control most every aspect of their performance of the contracted

                                   6   services.” Id. at 11. But FAS’s statements run counter to all of the evidence giving it the right to

                                   7   control. As plaintiffs state, “FAS tells Vendors where to go, when to go, what to do, when to get it

                                   8   done, and how much and when they will be paid for their efforts.” Reply ISO MPSJ at 1(Dkt. No.

                                   9   196). I agree with plaintiffs’ assertion that, “No reasonable juror could review the Vendor

                                  10   Packets, the work orders, the trainings, the Vendor Profiles, the discipline, and the Vendor

                                  11   scorecards, and conclude any of the Vendors are independent contractors.” Id.; see also MPSJ at

                                  12   15–24.
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                                  13            Under California’s common law test to distinguish between employees and independent

                                  14   contractors, “the defendant’s right to control the manner and means by which the plaintiff’s work

                                  15   is accomplished, rather than the amount of control actually exercised, is the principal factor in

                                  16   assessing whether a plaintiff is an employee or an independent contractor.” Certification Order at

                                  17   6. As previously noted, a “defendant’s right to control need not extend to every possible aspect of

                                  18   the plaintiff’s work[,] rather, “[t]he relevant question is whether the defendant retains ‘all

                                  19   necessary control’ over the plaintiff’s performance of his job duties.” Id. (quoting Borello, 48 Cal.

                                  20   3d at 357). Moreover, “the simplicity of the work (take this package from point A to point B)

                                  21   ma[kes] detailed supervision, or control, unnecessary.” Air Couriers Int'l, 150 Cal. App. 4th at

                                  22   937.

                                  23

                                  24   35
                                         At the onset, it is worth noting FAS concedes that some vendors may be deemed employees
                                  25   under the law: “FAS does not contend that every single potential class member would necessarily
                                       qualify as an independent contractor under the Borello test.” Opp’n to MPSJ at 18; Hr’g Tr. at
                                  26   12:6–7 (Dkt. No. 203[under seal]).
                                       36
                                  27      Both parties cite to non-class member testimony to support their respective positions. While
                                       this may have been the result of uncertainty at the time of briefing, as anticipated, the class
                                  28   member table has clarified the relevant evidence.

                                                                                         33
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                                   1          I find that FAS’s argument that it does not control when vendors perform work

                                   2   disingenuous. FAS requires work to be performed within three days of receiving a work order.

                                   3   That it does not dictate the precise hours during which the work must be performed is

                                   4   inconsequential. This element is a small consideration under the right to control factor. See, e.g.,

                                   5   Air Couriers Int'l, 150 Cal. App. 4th at 926 (finding drivers were employees even though they

                                   6   “determined their own schedules”); JKH Enterprises Inc., 142 Cal. App. 4th at 1051, (finding

                                   7   drivers were employees even though they were “not required to work either at all or on any

                                   8   particular schedule”).

                                   9          FAS claims that “the procedures that Plaintiffs contend qualify as the exertion of

                                  10   ‘employer control’ (e.g., photograph verification, job specifications, inspections, etc.) are all

                                  11   directed towards confirming that the work a vendor accepts has been completed to the client’s

                                  12   specifications.” Id. It urges that “Plaintiffs do not submit any evidence demonstrating that FAS
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                                  13   has exerted uniform control over areas that are not directly tied to the ‘results,’ such as (i) the

                                  14   vendors’ appearance or apparel; (ii) the brands or appearance of the equipment they use; (iii) their

                                  15   schedules, days of work, and hours; or (iv) their geographic coverage areas.” Opp’n at 20. It also

                                  16   insists that vendors could negotiate rates, while plaintiffs cite many vendors who testify that they

                                  17   could not negotiate.37 Although most of the evidence seems to support plaintiffs’ position that

                                  18   negotiations were illusory because FAS had the final say, FAS’s evidence demonstrates that these

                                  19   circumstances are not as clear cut as in Ruiz in which drivers could not negotiate at all. See Ruiz,

                                  20   754 F.3d at 1101. FAS also cites to “many vendors [that] have confirmed they were never

                                  21   ‘supervised’ or ‘monitored’ by FAS[.]” Id. at 10 n.20. While plaintiffs proffer evidence that FAS

                                  22   exercised significant oversight and supervision over vendors’ work. See, e.g., Duckworth Decl.

                                  23   ¶7, Ex. 4 (FAS marketing material entitled “Our National Vendor Network”)(“This [FAS’s

                                  24   technology and expertise] enables us to measure every vendor on every step of every job.”). FAS

                                  25   repeatedly attempts to frame its direction as focused on “the desired end results” Opp’n at 8, with

                                  26
                                       37
                                  27      The difference in the evidence may pertain to a vendor’s ability to “bid” on additional work not
                                       itemized in a work order that they discover needs to be performed at the property. There is some
                                  28   evidence that vendors were able to “negotiate” these rates, but the rates for work identified in the
                                       work orders are extracted from FAS’s standard price lists.
                                                                                        34
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                                   1   a goal to “confirm that the work is done, and completed according to client specifications. Opp’n

                                   2   at 10–11.

                                   3          The Ninth Circuit rejected a similar position in Alexander. There, FedEx argued that its

                                   4   control over drivers was similarly limited to the “results it seeks, not the manner and means in

                                   5   which drivers achieve those results.” Alexander, 765 F.3d at 990. The Alexander court found that

                                   6   factors such as fashion requirements, grooming, and shelving specifications were unrelated to the

                                   7   results FedEx sought to ensure. Id. The court also noted that “[o]ther aspects … such as limiting

                                   8   drivers to a specific service area with specific delivery locations[,] also are not merely control of

                                   9   results under California law.” Id. While FAS does not control vendors’ appearance, plaintiffs

                                  10   submitted evidence that FAS has dictated the brands and equipment, severely restricted the

                                  11   timeframes for the completion of work orders, and even controlled the service areas by pressuring

                                  12   vendors not to decline work orders within their listed zip codes and encouraging them to expand
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                                  13   their capabilities. Since the relevant inquiry is whether the defendant retains “all necessary

                                  14   control” over the vendors’ performance under the work orders, FAS’s “lack of control over some

                                  15   parts of its [vendors’] jobs does not counteract the extensive control it does exercise.” Alexander,

                                  16   765 F.3d at 990; see also Cotter, 60 F. Supp. 3d at 1075–76 (N.D. Cal. 2015) (“a finding of

                                  17   employee status for a particular worker or group of workers does not require that the company

                                  18   retain the right to control every last detail”); Air Couriers Int'l, 150 Cal. App. 4th 923 (finding

                                  19   employment status where “[a] certain amount of ... freedom is inherent in the nature of the work”).

                                  20          Next, FAS asserts, “Plaintiffs also completely ignore that many job specifications are

                                  21   designed to ensure compliance with applicable law …, thereby precluding Plaintiffs from relying

                                  22   upon them as evidence of control.” Id. But the Narayan court explicitly found requirements “to

                                  23   meet ‘the industry standard, the DOT regulations, and … customer’s requirements” all

                                  24   substantiated evidence of control. 616 F.3d at 902; see also Hurst v. Buczek Enterprises, LLC,

                                  25   870 F. Supp. 2d 810, 826 (N.D. Cal. 2012)(“ it is not clear why the reason for Defendant’s control

                                  26   over Plaintiff is relevant … Defendant’s attempt to draw a line between some hypothetical form of

                                  27   supervision it would implement absent client demands or legal requirements ... is unpersuasive”);

                                  28   Arnold v. Mutual of Omaha Ins. Co., 202 Cal. App.4th 580 (2011).
                                                                                         35
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                                   1          FAS also points out that vendors signed agreements identifying themselves as independent

                                   2   contractors, and then emphasizes that “none of the packets includes any limitations with respect to

                                   3   who can perform the work.” Opp’n at 18 (emphasis in original). The former point is “not

                                   4   dispositive,” Borello, 48 Cal. 3d at 349, and the latter point is only partially relevant. More

                                   5   importantly, it is not entirely true. FAS’s contention that it does not control who does the work is

                                   6   only one consideration of many relevant to the “means” portion of the inquiry, not the “manner.”

                                   7   Moreover, I must consider FAS’s right to control the class members, not other workers that may

                                   8   have serviced FAS properties. FAS’s liability here will be limited to those vendors designated by

                                   9   FAS, and plaintiffs point to substantial evidence that FAS not only retained a right to control their

                                  10   work, but actually exercised it. Second, FAS requires vendors to administer “background

                                  11   screening guidelines” for any employee a Vendor utilizes for an FAS job. See, e.g., 2014 Vendor

                                  12   Qualification Packet (Duckworth Decl. ¶ 9, Ex. 6, Dkt. No. 155-7 at 11). And it retains the right
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                                  13   to request the results of vendors’ screenings and conduct background checks of vendors’

                                  14   employees “at its sole discretion.” Id. (Dkt. No. 155-7 at 12). This further supports plaintiffs’

                                  15   position. Borello, 256 Cal.Rptr. 543, 769 P.2d at 408 n. 9 (holding that a contract provision

                                  16   restricting sharefarmers' right to choose employees evidenced defendant's right to control

                                  17   sharefarmers); Ruiz, 754 F.3d at 1102–03 (“While the district court found that approval was

                                  18   largely based upon neutral factors, such as background checks required under federal regulations,

                                  19   it is still true that the drivers did not have an unrestricted right to choose these persons, which is an

                                  20   ‘important right[ ] [that] would normally inure to a self-employed contractor.”). Additionally, the

                                  21   Ninth Circuit has already admonished courts not to overemphasize whether a purported employee

                                  22   was allowed to hire his own workers. Ruiz, at 1103 (“the district court's reliance on this factor [the

                                  23   drivers’ freedom to hire helpers] as dispositive in light of the overwhelming evidence of Affinity's

                                  24   control over its drivers was error”).

                                  25          I agree with plaintiffs that FAS’s documents clearly establish that it retained the right to

                                  26   control the vendors. The VQPs contain an at-will termination provisions, which is “strong

                                  27   evidence” of a right to control. Borello, 48 Cal.3d at 350. They also set out pages of specific

                                  28   requirements, which the work orders elaborate through meticulously detailed task lists. While
                                                                                          36
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                                   1   FAS attempts to frame its position as “results-driven,” the straightforward nature of the work

                                   2   severely limits the space between dictating “results” and controlling the manner and means of the

                                   3   work. E.g., R. Pyzer Decl. ¶ 17 (Duckworth Decl. ¶ 124, Ex. 125, Dkt. No. 157-25); Montes Decl.

                                   4   ¶ 12 (Cubre Decl. Ex. 12, Dkt. No. 198-4 at 190).

                                   5          The vendor profiles demonstrate that FAS not only retained the right to control the vendors

                                   6   but actually exercised that control through extensive supervision and a regimented discipline

                                   7   program. And if vendors failed to comply with the direction of FAS field team inspectors, they

                                   8   faced penalties. This is strong evidence of a right to control. See Ayala, 59 Cal.4th at 533

                                   9   (“Whether a right of control exists may be measured by asking whether or not, if instructions were

                                  10   given, they would have to be obeyed on pain of at will discharge for disobedience.”). In

                                  11   Alexander, the parties agreed that their working relationship was controlled by FedEx’s Operating

                                  12   Agreement, policies and procedures, but they disputed “the extent to which those documents give
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                                  13   FedEx the right to control its drivers.” Alexander, 765 F.3d at 988. The Alexander court found

                                  14   that “much of the OA is not ambiguous[,]” and “[t]o the extent it is ambiguous, the extrinsic

                                  15   evidence supports a conclusion that FedEx has the right to control its drivers.” Id.

                                  16          FAS does not argue that the VQPs are ambiguous, but it focuses on the factual variations

                                  17   in when and how FAS exercised its control. That is not the touchstone of the analysis. The five

                                  18   versions of the VQPs are materially the same;38 they firmly establish FAS’s right to control. The

                                  19   right-to-control test does not require absolute control. I agree with plaintiffs that all necessary

                                  20   control exists here, where all class members worked the majority of their time for FAS, and were

                                  21

                                  22   38
                                         FAS urges that “the Packets have varied significantly over time in material ways.” Opp’n at 4
                                  23   n.4. They provide examples,

                                  24                  such as with respect to contract termination (i.e., some packets did
                                                      not contain a termination provision, others provided that the contract
                                  25                  could be terminated at any time, and others contained a notice
                                                      provision), independent contractor acknowledgments (i.e., some
                                  26                  packets include an express acknowledgement of independent
                                                      contractor status, while others do not), indemnification provisions,
                                  27                  background check provisions, tax information, security provisions,
                                                      non-exclusivity provisions, and the inclusion of job specifications
                                  28                  within the packets.
                                       Id.
                                                                                         37
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                                   1   subject to training requirements, extensive supervision, and ongoing discipline.

                                   2          I find that the evidence, even when viewed in the light most favorable to FAS,

                                   3   demonstrates that it retained “all necessary control” over the vendors.

                                   4                  2.      Secondary Factors
                                   5          As noted in the Class Certification Order, “[t]he secondary factors ‘cannot be applied

                                   6   mechanically as separate tests; they are intertwined and their weight depends often on particular

                                   7   combinations.’” Certification Order at 7 (quoting Germann v. Workers’ Comp. Appeals Bd., 123

                                   8   Cal. App. 3d 776, 783 (1981)). “Even if one or two of the individual factors might suggest an

                                   9   independent contractor relationship, summary judgment is nevertheless proper when ... all the

                                  10   factors weighed and considered as a whole establish ... an employment and not an independent

                                  11   contractor relationship.” Alexander, 765 F.3d at 988 (quoting Arnold v. Mut. of Omaha Ins. Co.,

                                  12   202 Cal. App. 4th 580, 590 (2011)(alterations omitted)).
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                                  13          If I ignored the right to control analysis, and focused solely on the secondary factors, I

                                  14   would not grant summary judgment. As I discuss below, some factors favor viewing the vendors

                                  15   as independent contractors, and some as employees. But the right to control is pre-eminent, and

                                  16   notwithstanding the conflicting secondary factors, a reasonable jury would have to conclude that

                                  17   the vendor-class members were employees because FAS retained the right to control the manner

                                  18   and means of the vendors’ work. Borello, 48 Cal. 3d 341, 350 (“While conceding that the right to

                                  19   control work details is the ‘most important’ or ‘most significant’ consideration, the authorities also

                                  20   endorse several ‘secondary’ indicia of the nature of a service relationship.”). FAS failed to

                                  21   demonstrate that the secondary factors convincingly favor independent contract status. See

                                  22   Villalpando, 2015 U.S. Dist. LEXIS 118065, at *168–169 (“In light of the undisputed facts

                                  23   establishing Exel’s right to exercise extensive control over how Plaintiffs perform their work, the

                                  24   Court finds that the evidence offered by Exel as to Borello’s secondary factors is insufficient to

                                  25   defeat summary judgment that Plaintiffs are employees.”). All the factors weighed and

                                  26   considered as a whole establish an employment relationship as a matter of law. Alexander, 765

                                  27   F.3d at 988; see also Cotter, 60 F. Supp. 3d at 1077 (“To be sure, all factors need not point in one

                                  28   direction for a court to rule as a matter of law about a worker's proper classification.”).
                                                                                         38
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                                                                a.     Distinct Occupation or Business
                                   1
                                                 This factor weighs in favor of plaintiffs. FAS urges me to find a distinction between the
                                   2
                                       vendors and the drivers in Ruiz, where the class members’ “businesses were in name only[,]” Ruiz,
                                   3
                                       754 F.3d at 1104, because “all vendors here have the right to provide services to others (including
                                   4
                                       FAS competitors)… .” Opp’n at 20. But plaintiffs argue that “FAS greatly influenced and
                                   5
                                       controlled the Vendors’ opportunity to make (or more likely) lose money” because FAS could
                                   6
                                       withhold payment at its discretion and determine a vendors’ workload. Reply at 11. And they
                                   7
                                       urge that “FAS requires Vendors to have a business license, an EIN, and business insurance.”
                                   8
                                       Reply at 10 (citing Hunter Dep.; F. Bowerman Dep. at 13:7–11, 40:24–41:5; Vendor Qualification
                                   9
                                       Packet [requiring company name and company contact information]).
                                  10
                                                 While class members may have had the right to work for others, many did not, and none
                                  11
                                       “work[ed] for any other entity more than 30 percent of the time.” Class Certification Order at 2
                                  12
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                                       (reciting class definition). Plaintiffs contend that the work performed by vendors is “wholly
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                                  13
                                       integrated” into FAS’s operation, and as such, the vendors are not engaged in a distinct business
                                  14
                                       occupation. MPSJ at 21 (citing Alexander, 765 F.3d at 995); Reply at 9. They highlight evidence
                                  15
                                       that vendors (1) could not interact directly with FAS clients;39 (2) were required to do work
                                  16
                                       according to FAS specifications;40 (3) had to post a sign on properties indicating “Maintained By
                                  17
                                       Field Asset Services, LLC” (or similar notice);41 (4) had to add FAS as an additional insured on
                                  18
                                       General Liability, Auto Liability, and excess policies for ongoing and completed operations;42 and
                                  19
                                       (5) were required to waive their right to file a lien on an FAS-serviced property.43 MPSJ at 21. It
                                  20
                                       is undisputed that vendors were prohibited from communicating directly with clients and with
                                  21
                                       each other. This limits the persuasiveness of the argument that they controlled distinct businesses
                                  22
                                       since each of the class members personally performed property preservation work for FAS at least
                                  23

                                  24   39
                                            E.g., Hunter Dep. at 65:23 – 66:5 (Duckworth Decl. Ex. 2, Dkt. No. 155-3).
                                  25   40
                                            E.g., Work Order (Duckworth Decl. Ex. 7, Dkt. No. 155-8); Hunter Dep. at 129:1 – 131:8 .
                                  26   41
                                            E.g., FAS Sign (Duckworth Decl. Ex. 7, Dkt. No. 155-76).
                                  27   42
                                            E.g., Vendor Qualification Packet (Duckworth Decl. Ex. 17, Dkt. No. 155-18 at 16).
                                  28   43
                                            E.g., Vendor Qualification Packet (Duckworth Decl. Ex. 37 (Dkt. No. 155-38 at 6).
                                                                                       39
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                                   1   70 percent of the time. See O’Connor v.Uber Techs., 82 F. Supp.3d 1133, 1142 (2015) (fact that

                                   2   company prohibits its drivers from answering rider queries about booking future rides or otherwise

                                   3   “soliciting” rides was evidence of employee status).

                                   4          Plaintiffs proffer evidence that many vendors were so overwhelmed with FAS work that

                                   5   their businesses were essentially precluded from seeking opportunities with others. FAS counters

                                   6   that they were not forbidden from doing so. But the analysis must focus on this factor in light of

                                   7   the class definition. Given that vendors worked for FAS at least 70 percent of the time, this factor

                                   8   weighs in favor of plaintiffs.

                                   9                          b.        Work Done Under Principal’s Direction
                                  10          While “this factor is largely duplicative of the control factor[,]” Harris, 656 F. Supp. 2d at

                                  11   1139, which I have discussed at length, I will briefly address FAS’s arguments. It asserts that

                                  12   “[t]he record demonstrates that vendors regularly complete their work without any supervision
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                                  13   from FAS, which is based in Texas.” Opp’n at 21 (emphasis in original). FAS, however, ignores

                                  14   the fact that the record also demonstrates that vendors sometimes complete their work with

                                  15   substantial supervision from FAS. And, while defendants mention it numerous times, the

                                  16   relevance of FAS being based in Texas eludes me. It has quality control inspectors in California

                                  17   whose job is to “verify that work has been completed … to the client’s specifications.” Opp’n at

                                  18   21. And while FAS may take issue with plaintiffs “inaccurately conflat[ing] verification with

                                  19   supervision,” id., it fails to explain why before and during photo documentation is necessary if its

                                  20   only concern is with the end results. As plaintiffs so cogently frame it, “FAS does not ‘verify’ the

                                  21   results of the work by requiring the work be done in a particular way, or on a particular timeline,

                                  22   or using specific products, or repeatedly disciplining Vendors for not meeting job specifications.”

                                  23   Reply at 6. As in Borello, “all meaningful aspects of the business relationship[,]” including the

                                  24   “price,” the tasks to be performed, how to perform them, “payment, and right to deal with buyers

                                  25   … are controlled by [FAS].” Borello, 48 Cal. 3d at 356 (alterations and quotation marks omitted).

                                  26   This factor overwhelmingly favors plaintiffs.

                                  27                          c.        The Skill Required
                                  28          This factor tips to plaintiffs because of the lack of skill required to do the vendors’ work,
                                                                                        40
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                                   1   including such tasks as taking out the trash, mowing the lawn, and cleaning a house. MPSJ at 22.

                                   2   FAS points to other tasks, such as hazardous materials transportation, home winterization, and

                                   3   roofing, to argue that “experience and skill in this area is critical.” Opp’n at 21. Even though the

                                   4   lack of skill required to complete work orders varies with the tasks, it remains true that “[t]he work

                                   5   the vendors perform does not require a great deal of experience or skill.” Prior Order at 18.

                                   6   Although some additional training may be necessary for the particular tasks identified by FAS,

                                   7   they do not rise to a level requiring “skilled” labor. That conclusion is bolstered by the fact that

                                   8   vendors performing the work frequently lacked experience prior to contracting with FAS.

                                   9                          d.      Whether the Principal Supplies the Instrumentalities, Tools, and
                                                                      Place of Work
                                  10
                                               I am not sure how to evaluate this factor, but it is not important to my analysis. As
                                  11
                                       plaintiffs state,“FAS assigns Vendors worksites, thus supplying the place of work[,]” Reply at 12,
                                  12
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                                       but it is also undisputed that vendors purchase their own tools and equipment. Plaintiffs assert that
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                                  13
                                       “FAS requires Vendors to purchase and use certain equipment and tools.” Reply at 13. Both
                                  14
                                       parties present evidence supporting their positions, and I do not reach a conclusion regarding
                                  15
                                       them.
                                  16
                                                              e.      The Length of Time for Performance of Services
                                  17
                                               For the fifth factor, plaintiffs contend that “vendors are hired by FAS for an indefinite
                                  18
                                       period of time, not linked to any particular job or property, and are paid what FAS decides to pay
                                  19
                                       them.” MPSJ at 22; Reply at 13. Plaintiffs also point out that “[m]ost vendors work for years on
                                  20
                                       hundreds of different properties.” Reply at 13. FAS highlights the most recent template contract,
                                  21
                                       which “specifies a one-year term, subject to cancellation by either party with 30-days’ notice, and
                                  22
                                       further allows termination for breach by either Party subject to a five-day cure provision.” Opp’n
                                  23
                                       at 24 (citing Hunter Supp. Decl. ¶ 9; Ex. 7; Hunter Decert. Decl. ¶ 2). In Narayan, the Ninth
                                  24
                                       Circuit held that a similar agreement was “a substantial indicator of an at-will employment
                                  25
                                       relationship.” 616 F.3d at 902–03; id. at 903 (“the length and indefinite nature of the plaintiff
                                  26
                                       Drivers’ tenure …also point toward an employment relationship”); see also Antelope Valley Press
                                  27
                                       v. Poizner, 162 Cal. App. 4th 839, 855 (2008) (“[T]he notion that an independent contractor is
                                  28
                                                                                         41
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                                   1   someone hired to achieve a specific result that is attainable within a finite period of time ... is at

                                   2   odds with carriers who are engaged in prolonged service to [an employer].”); Air Couriers, 59 Cal.

                                   3   Rptr. 3d at 47 (finding drivers’ “lengthy tenures … inconsistent with independent contractor

                                   4   status”). This factor supports plaintiffs’ position.

                                   5                           f.      The Method of Payment
                                   6           As FAS points out, vendors are paid “by the job, not by the hour[,]” Opp’n at 22, but

                                   7   plaintiffs construe this fact into “another way FAS controls Vendors[.]” Reply at 14 (citing

                                   8   Borello, 48 Cal.3d at 357 (piecework payment formula ensured diligence and

                                   9   quality control); Yellow Cab Coop. v. Workers' Comp. Appeals Bd., 226 Cal. App. 3d 1288, 1299

                                  10   (1991)). In Alexander, the Ninth Circuit stated, “where, as here, there is ample independent

                                  11   evidence that the employer has the right to control the actual details of the employee’s work, the

                                  12   fact that the employee is paid by the job rather than by the hour appears to be of minute
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                                  13   consequence.” 765 F.3d at 996 (quotations and modifications omitted). Alexander’s analysis

                                  14   applies here.

                                  15                           g.      Whether the Work is a Regular Part of the Business of FAS
                                  16           FAS urges that it “coordinates the provision of property preservation services,” but “does

                                  17   not itself provide property preservation services.” Opp’n at 22. While FAS employs a substantial

                                  18   staff of coordinators and inspectors to oversee its operation, it would not have a business to

                                  19   coordinate without the work of the vendors. It provides its clients with property preservation

                                  20   services through the use of vendors. See Certification Order at 15 (“FAS’s business model is

                                  21   dependent on vendors performing the services that FAS provides.”). In its own words, “FAS is

                                  22   the premier Property Preservation, REO Maintenance, and Repair Services company in the United

                                  23   States.” FAS marketing material (Duckworth Decl. ¶ 4, Ex. 1, Dkt. No. 155-2). The vendors

                                  24   “perform those very [property preservation] services that are the core of [FAS’s] regular business.

                                  25   Without [vendors], FAS could not be in the [property preservation] business.” Ruiz, 754 F.3d at

                                  26   1105. This factor also favors plaintiffs.

                                  27                           h.      Intent of the Parties
                                  28           As already noted, the vendors signed an agreement acknowledging their status as
                                                                                          42
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                                   1   independent contractors, so this factor weighs in favor of independent contractor status. The Ninth

                                   2   Circuit, however, found this factor is not dispositive where the initial intent to create an

                                   3   independent contractor agreement is “belied by” FAS’s “policies and procedures, which in fact

                                   4   allow [it] to control significant aspects of the [vendor’s] day-to-day jobs, and it therefore provides

                                   5   only limited insight into the [vendor’s] state of mind. 765 F.3d 996.

                                   6                           i.      Opportunity for Profit or Loss
                                   7           FAS highlights this factor as a critical reason why the vendors must be independent

                                   8   contractors because they “have opportunities for profit and loss in the millions of dollars based

                                   9   upon their managerial skill… .” Opp’n at 23. This certainly seems to have happened for a few of

                                  10   the vendors, so it is clear that opportunity for profit exists.

                                  11                           j.      Employment of Others
                                  12           FAS urges that the vendors’ ability and freedom to hire their own workers favors a finding
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                                  13   of independent contractor status. Id. at 24. Plaintiffs underscore the reasons vendors may have

                                  14   hired their own workers as a necessary consideration. And they cite to Ruiz to diminish the

                                  15   importance of this factor: “While ‘purporting to relinquish’ some control to the drivers by making

                                  16   the drivers form their own businesses and hire helpers, Affinity ‘retained absolute overall control’

                                  17   over the key parts of the business.” Ruiz, 754 F.3d 1103 (quoting Borello, 48 Cal. 3d at 355-56);

                                  18   see also Alexander, 765 F.3d at 993 (“California cases indicate that entrepreneurial opportunities

                                  19   do not undermine a finding of employee status”). But it is undisputed that the vendors make the

                                  20   ultimate decision to hire workers lied with the vendors, so this factor suggests more of an

                                  21   independent contractor relationship.

                                  22                           k.      Degree of Permanence
                                  23           FAS points to the mutual right to terminate the relationship as evidence supporting

                                  24   independent contractor status here. Opp’n at 24. Hennighan, 38 F. Supp. 3d at 1105 (“A mutual

                                  25   termination clause is evidence of an independent contractor relationship”). This factor was

                                  26   discussed above.

                                  27                           l.      Whether the Relationship Was Exclusive
                                  28           While the class is limited to those vendors that “did not work for any other entity more
                                                                                           43
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                                   1   than 30 percent of the time,” FAS attempts to point to their ability to provide services for others.

                                   2   Opp’n at 24. It does not matter what the vendors were free to do; rather the scope of the analysis

                                   3   is governed by the class definition. The class members here had a nearly exclusive relationship

                                   4   with FAS.

                                   5          As noted at the outset of this section, some of the secondary factors support FAS’s

                                   6   argument that the vendors are independent contractors. But its right to control swamps those

                                   7   factors in importance, and other secondary factors favor plaintiffs’ argument that the vendors are

                                   8   employees. A reasonable jury could not conclude otherwise.

                                   9          B.      Overtime Violations and Failure to Reimburse Certain Expenses
                                  10          California law requires payment of overtime compensation to all non-exempt employees,

                                  11   Cal. Lab.Code § 510, as well as the reimbursement of necessary and reasonable business expenses.

                                  12   Cal. Lab. Code § 2802. Summary judgment on these claims necessarily depends on a finding that
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                                  13   the vendors are employees as a matter of law. Once that is established, plaintiffs contend that they

                                  14   are entitled to summary judgment on the issue of FAS’s liability for failing to pay overtime and to

                                  15   reimburse expenses because it is undisputed that FAS did not pay vendors’ overtime nor did it

                                  16   reimburse them for business expenses. MPSJ at 25. They assert that “[a]ny issue as to how much

                                  17   Plaintiffs should be [sic] received, i.e., whether a particular Vendor worked overtime on a specific

                                  18   day, or whether a specific expense was reasonable and necessary, are all issues for the damages

                                  19   phase of these claims.” Id.

                                  20          FAS disagrees, citing cases suggesting summary judgment on claims for expenses and

                                  21   overtime is inappropriate when issues of fact are left unresolved. Opp’n at 25 (citing Morgan v.

                                  22   Wet Seal Inc., 210 Cal. App. 4th 1341, 1358 (2012) (proving liability for failure to reimburse

                                  23   expenses would involve answering: (1) what, if anything, the employee was told regarding

                                  24   reimbursement of expenses; (2) whether each expense was necessary and a direct consequence of

                                  25   the discharge of the employees’ job duties; (3) whether the employee sought reimbursement of

                                  26   that expense; and (4) whether the employee was in fact reimbursed); Sotelo v. MediaNews Group,

                                  27   207 Cal. App. 4th 639, 654 (2012) (recognizing that “simply having the status of an employee

                                  28   does not make the employer liable to a claim for overtime compensation.”). Defendants’ cases are
                                                                                         44
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                                   1   inapposite. In Morgan, the court noted that the written policies at issue did not resolve the liability

                                   2   question, therefore individualized inquiry was necessary. Morgan, 210 Cal. App. 4th at 1356–58.

                                   3   The same is not true here, and FAS admits as much. Opp’n at 25 (“FAS does not reimburse

                                   4   vendors for their business expenses as a matter of policy… .”). FAS

                                   5             FAS concedes that it does not pay overtime. It contends that “vendors can and do

                                   6   negotiate over payment for some of the very same costs Plaintiffs seek to recover by way of their

                                   7   expense reimbursement claim… .” Id. But because employees are entitled to overtime and

                                   8   payment of expenses as a matter of law, summary judgment with respect to liability to the class is

                                   9   appropriate. Whether and to what amount an individual class member should be compensated for

                                  10   working overtime or being reimbursed for expenses will be determined in the damages or claims

                                  11   phase of the case.

                                  12   III.      FAS’S MOTION FOR SUMMARY JUDGMENT44
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                                  13             FAS argues that “there are many individuals in the group of 48 whose claims fail as a

                                  14   matter of law[,]” but it pinpoints the claims of purported class members Julia Magdaleno (f.k.a.

                                  15   Bowerman); Matthew Cohick, owner of vendor Monster Mowers; and Eric Ackel, owner of Kurb

                                  16   Appeal, Inc. to attack on summary judgment. MSJ at 1 (Dkt. No. 152). It argues Magdaleno is

                                  17   not a class member and Cohick and Ackel are not employees. Id. And it insists that “these three

                                  18   individuals illustrate the variety of factual obstacles that Plaintiffs face in their misguided effort to

                                  19   prove misclassification.” Id.

                                  20             A.      Julia Magdaleno
                                  21                     1.     Class Status
                                  22             FAS argues for summary judgment of Magdeleno’s claims because she “never executed a

                                  23   contract with FAS,” FAS never designated her as an independent contractor, and she therefore

                                  24   does not meet the class definition.45 MSJ at 1. Plaintiffs counter that Magdaleno is a class

                                  25
                                       44
                                  26     Plaintiffs argue that FAS’s motion is procedurally improper because it is not “directed at claims
                                       or defenses.” Opp’n at 6. I disagree. FAS’s argument that Magdaleno is not a class member and
                                  27   Cohick and Ackel are independent contractors as a matter of law is equivalent to a defense to the
                                       claims against it, as to those purported class members.
                                  28   45
                                            The class is defined as,
                                                                                          45
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                                   1   member because “BBHS was designated as a vendor for FAS[,]” and Magdaleno “was a joint

                                   2   owner of BBHS.” Opp’n at 7. To support her ownership status, plaintiffs cite to Magdaleno’s

                                   3   self-identification and subjective understanding; status as co-signor of the BBHS bank account;

                                   4   authority to enter contracts on behalf of BBHS; designation on BBHS work orders; and signature

                                   5   on BBHS documents. Id.

                                   6          The issue of Magdaleno’s purported ownership interest in BBHS derived from her

                                   7   marriage to Fred Bowerman is distinct from the issue of whether she was ever “designated by FAS

                                   8   as an independent contractor.”46 This remains true even given plaintiffs’ representation that class

                                   9   members are vendor-owners. Simply because all class members are vendor-owners does not mean

                                  10   that all vendor-owners are class members. Each vendor-owner must have been designated by FAS

                                  11   as an independent contractor to meet the class definition.47 FAS argues that she was never

                                  12   designated as such, irrespective of her marriage or her ability to act as an agent, on FAS’s behalf.
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                                  13   I agree. Because Magdaleno does not fall within the class definition, her class claims must fail.48

                                  14

                                  15                  All persons who at any time from January 7, 2009 up to and
                                                      through the time of judgment (the “Class Period”) (1) were
                                  16
                                                      designated by FAS as independent contractors; (2) personally
                                  17                  performed property preservation work in California pursuant to
                                                      FAS work orders; and (3) while working for FAS during the Class
                                  18                  Period, did not work for any other entity more than 30 percent of
                                                      the time. The class excludes persons who primarily performed
                                  19                  rehabilitation or remodel work for FAS.
                                  20
                                       FAS does not dispute that Magdaleno personally performed property preservation work, or
                                  21   worked for FAS at least 70 percent of the time.
                                       46
                                  22     Accordingly, plaintiffs’ argument based on California community property law is irrelevant to
                                       the issue of class membership.
                                  23   47
                                         Plaintiffs separately argue that Magdaleno was designated as a vendor through work orders, and
                                  24   FAS admitted Magdaleno’s status in its answer. But Magdaleno did not sign the VQP documents
                                       and is not in the same position as the other vendor class members. She is not a member of the
                                  25   class.
                                       48
                                  26     In the section of plaintiffs’ opposition dedicated to the breach of contract claim, plaintiffs argue
                                       that Magdaleno, as an employee, “was entitled to overtime pay and reimbursement of business
                                  27   expenses from FAS[,]” independent of any written agreement. Opp’n at 8. I do not consider this
                                       argument here, as plaintiffs have elected to pursue their misclassification claims on a classwide
                                  28   basis. Since Magdaleno does not meet the class definition, those claims are not properly
                                       considered part of this action.
                                                                                         46
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                                                      2.      Claims for Breach of Contract and Breach of the Covenant of Good
                                   1                          Faith and Fair Dealing
                                   2          As an initial matter, Magdaleno’s claims for breach of contract and breach of the covenant

                                   3   of good faith and fair dealing are not dependent on her membership in the class because “plaintiffs

                                   4   did not seek certification of the claims for breach of contract, breach of the implied covenant of

                                   5   good faith and fair dealing, or violations of the UCL not predicated on Labor Code violations.”

                                   6   Certification Order at 3:10–12. Because plaintiffs did not seek to pursue those claims on a

                                   7   classwide basis, they are not contingent on Magdaleno’s class status. Nevertheless, FAS insists,

                                   8   “even assuming Ms. Magdaleno is a proper class member, her contract claims still fail.” MSJ at 5

                                   9   (capitalization omitted). It states that her claims for breach of contract and breach of the covenant

                                  10   of good faith and fair dealing must be dismissed because she never signed an agreement with FAS.

                                  11   MSJ at 5. Its arguments are unpersuasive.

                                  12          While FAS focuses on the “documents that memorialized the contractual relationship
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                                  13   between BB Homes Services and FAS,” Opp’n at 5, a contract may be implied by conduct. See

                                  14   Cal. Civ. Code § 1621 (“An implied contract is one, the existence and terms of which are

                                  15   manifested by conduct.”). Magdaleno’s claim for breach of contract need not depend on the

                                  16   existence of any written agreement.49

                                  17          As for her claim for breach of the implied covenant of good faith and fair dealing, it too

                                  18   survives. FAS misrepresents Guz’s holding when it states, “there is no independent claim for

                                  19   breach of the implied covenant of good faith and fair dealing in the employment context… .” MSJ

                                  20   at 6 (citing Guz v. Bechtel, 24 Cal. 4th 317, 37750 (2000)). While a claim for breach of the implied

                                  21   covenant of good faith and fair dealing “that merely realleges th[e] beach [of contract claim] as a

                                  22   violation of the covenant is superfluous[,]” that is not what is happening here. Plaintiffs’ breach

                                  23   of contract claim is based on the actual terms of their agreement, as expressed in the Vendor

                                  24

                                  25   49
                                         I also agree with plaintiffs that FAS would be liable to Magdaleno “to the extent it failed to pay
                                  26   on a specific work order” that Magdaleno signed. Opp’n at 8.
                                       50
                                  27     I do not see how FAS’s pincite supports its position at all, although other sections of the
                                       decision at least relate to the topic at issue here. See Guz v. Bechtel, 24 Cal. 4th 317, 348–352
                                  28   (2000).

                                                                                        47
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                                   1   Qualification Packet. See FAC ¶ 38 (“FAS materially breached Plaintiffs’ and other class

                                   2   members’ Agreements when they failed to compensate them as provided for in the Agreements.”).

                                   3   Their claim for breach of the implied covenant of good faith and fair dealing, on the other hand, is

                                   4   based on FAS’s “[f]ail[ure] and refus[al] to pay Plaintiffs and class members in accordance with

                                   5   California law[.]” FAC ¶ 43(A). Accordingly, that claim is not superfluous.

                                   6          B.      Absent Class Members Matthew Cohick and Eric Ackel
                                   7          While FAS separates its attack on Cohick and Ackel, its argument is the same: the level of

                                   8   success or independence of each individual’s business precludes a finding that they are FAS’s

                                   9   employees. MSJ at 15 (“On its own initiative, Monster Mowers grew to be a multi-million dollar

                                  10   business with dozens of employees and subcontractors, extensive equipment, and a fleet of

                                  11   vehicles, that it used to provide property preservation services to a number of clients – before,

                                  12   during, and after the time period it provided services to FAS.”); Reply at 9 (“Mr. Ackel did not
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                                  13   create Kurb Appeal to contract with FAS, but rather, to enter the industry, and when Mr. Ackel

                                  14   when ‘looking for clients,’ he found FAS.”).

                                  15                  1.      Right to Control
                                  16          FAS argues, due to the size of the businesses of Cohick and Ackel, that it could not have

                                  17   exercised control over their work. MSJ at 17 (“Compared to the expansive nature of Cohick’s

                                  18   operations, FAS exerted minimal, if any, control.”)(capitalizations omitted). Without a doubt, the

                                  19   size of their businesses differentiates them to some degree from the other vendors. But once

                                  20   again, FAS focuses on the wrong question, the actual exercise of control rather than the right to

                                  21   control. “Under this [common law] test, the defendant’s right to control the manner and means by

                                  22   which the plaintiff’s work is accomplished, rather than the amount of control actually exercised, is

                                  23   the principal factor in assessing whether a plaintiff is an employee or an independent contractor.”

                                  24   Certification Order at 6 (citing Ayala v. Antelope Valley Newspapers, Inc., 59 Cal. 4th 522, 533-34

                                  25   (2014) (“What matters under the common law is not how much control a hirer exercises, but how

                                  26   much control the hirer retains the right to exercise.”) (emphasis in original)).

                                  27          As plaintiffs point out, FAS terminated its relationships with both Cohick and Ackel,

                                  28   which is “‘strong evidence’ of a right to control and an employment relationship.” Certification
                                                                                         48
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                                   1   Order at 7 (quoting Borello, 48 Cal.3d at 350). But that is not all. As Ackel testified, “they [FAS]

                                   2   controlled all the work we did. They decided when we worked, when we didn’t work, how much

                                   3   we worked, how much we got paid, when we didn’t get paid, how we were going to get paid.”

                                   4   Ackel Dep. at 47:8–11 (Duckworth Decl. ¶ 7, Ex. D). Moreover, “[t]here was no negotiation.” Id.

                                   5   at 55:25–56:2; see also Cohick Dep. 96:2-97:16 (“[FAS] always decided what I was going to get

                                   6   paid”). The size of their businesses is largely irrelevant to the question of FAS’s right to exercise

                                   7   control over each, as vendor-owners. See O'Connor v. Uber Techs., Inc., 82 F. Supp. 3d 1133,

                                   8   1152 (N.D. Cal. 2015)(“The more relevant inquiry is how much control Uber has over its drivers

                                   9   while they are on duty for Uber.”)

                                  10                  2.      Secondary Factors
                                  11          All but one of the secondary factors— including the level of supervision, the skill

                                  12   required,51 whether the principal supplies the tools and place of work, the length of time for which
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                                  13   the services are to be performed, the method of payment, whether the work is part of the

                                  14   principal’s regular business, and the intent of the parties—come out the same for Cohick and

                                  15   Ackel as for the rest of the class. See supra section II.A.2 (analyzing secondary factors in regards

                                  16   to plaintiffs’ motion for partial summary judgment). FAS’s strongest argument lies within the

                                  17   distinct business factor, and related considerations of “opportunity for profit or loss depending on

                                  18   his managerial skill,” and “investment in equipment or materials required for his task, or his

                                  19   employment of helpers.” Borello, 48 Cal.3d at 355.

                                  20          In regards to Cohick’s Monster Mowers, FAS points to Monster Mower’s financial

                                  21   success, as well as its investment in vehicle and equipment inventory, clothing bearing the

                                  22   Monster Mowers logo, and dozens of workers and subcontractors. MSJ at 20–22. It also

                                  23   highlights Monster Mower’s work for FAS competitor AMS, and its freedom to “follow[] the

                                  24   client while still contracting with FAS.” Id. at 22 (emphasis in original). But, according to

                                  25

                                  26   51
                                         However, FAS argues that “the skill that Monster Mowers brought was not its ability to mow a
                                  27   lawn but rather the company’s professed ability to handle lawn care services for ‘1000+’
                                       properties – including all the equipment needs and logistics arising from this workload.” MSJ at
                                  28   18. While this implies Cohick may have possessed some additional management skills, this is not
                                       synonymous with the “skill required” to do the work assigned.
                                                                                       49
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                                   1   plaintiffs, FAS told Cohick to hire helpers, provided its own training, supervised him (and other

                                   2   workers) through calls and emails, inspected the work, disciplined him by paying him less, and

                                   3   left him under constant fear that he would lose work if he did not do exactly as FAS demanded.

                                   4   Opp’n at 3–4. Additionally, “FAS sent inspectors to show Cohick and his helpers how to do the

                                   5   work and to review the work, in addition to training the laborers, inspecting the manner and

                                   6   quality of the work and whether FAS directions were followed.” Id. (citing Cohick Dep. at

                                   7   110:24–111:18).

                                   8          For Ackel, FAS highlights Kurb Appeal’s 1500-square foot office space and the several

                                   9   other businesses owned by Ackel, both before and after contracting with FAS. MSJ at 29–31. It

                                  10   also focuses on his discretion to refuse work, his liberty to hire workers without FAS approval,

                                  11   and the small percentage of on-site inspections to argue that FAS did not exercise a right of

                                  12   control over Kurb Appeal. Id. While FAS never “trained” Ackel, “they [FAS] controlled
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                                  13   everything you did[,]” and “there was no negotiation.” Ackel Dep. at 55:12–13. Further, when

                                  14   they showed up unannounced for site inspections, they would “just give [him] direction.” Id. at

                                  15   67:23. The differences FAS identifies regarding Cohick and Ackel from the other vendors are not

                                  16   sufficient to exclude them as class members. FAS’s motion for summary judgment concerning

                                  17   them is DENIED.

                                  18                                             CONCLUSION

                                  19          Plaintiffs’ motion for partial summary judgment is GRANTED. FAS’s motion to decertify

                                  20   the class is DENIED. Its motion for summary judgment is GRANTED with respect to Julia

                                  21   Magdaleno and denied as to Matthew Cohick and Eric Ackel.

                                  22          The damages phase of the case remains set for trial on May 22, 2017 at 8:30 a.m. The pre-

                                  23   trial conference is set for April 24, 2017 at 2:00 p.m.

                                  24          IT IS SO ORDERED.

                                  25   Dated: March 17, 2017

                                  26
                                  27
                                                                                                    William H. Orrick
                                  28                                                                United States District Judge
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